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AO 239 (Rey. 12/13) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form) Po

UNITED STATES DISTRICT Cgurt} MY 2.9 2020

for the CL
Northern District of Texas ERK, Ui
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RK, U.S . DISTRICT COURT

Civil Action No. 4:20-CV-161-O (BJ)

   

GLENN WINNINGHAM FEARN

Plaintiff/Petitioner
v.

TIMOTHY C. GRAHAM, Et Al..
Defendant/Respondent

 

 

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APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS

 

(Long Form)
Affidavit in Support of the Application Instructions
Tam a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.

that I am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,”
and that I am entitled to the relief requested. Ideclare “none,” or “not applicable (N/A),” write that response. If
under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may resultin answer, attach a separate sheet of paper identified with your
a cismmisgal, of my claims. name, your case's core number, and the question number.

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For both you and your spouse estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
for taxes or otherwise.

 

 

 

 

 

 

 

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Income source Average monthly income Income amount expected
amount during the past 12 next month
months
You Spouse You Spouse

Employment § N e $ N 4 $ AJ ja) $ AC A
Self-employment § : , 4. : W (A 5 7” |
Income from real property (such as rental income) $ < $ A/ l¢- $ / (6 § uff ie
Interest and dividends § A ei} ; A iy ; NV 1d : “| 4
Gifts § VY 5 . NV 4 § VV im , Wy 4-
Alimony $ Vi § NA § NIA $ NV (4.
Child support $ (Vv re $ Mr $ N (4 $ AJ (4-

 

 

 

 

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Retirement (such as social security, pensions, annuities, § N ve ls Al iy At TA 4 Q
Disability (such as social security, insurance payments) § : § ae © al ;

Unemployment payments i $ ab ¢ 7 4 $ NM tA
VIA V(A 6 w(A VIA
WIGS A fA-§ v[A- |
Total monthly income: V\aé $ N (d- . a $ N AY

2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)

a ; ( Oo Address 4 [ dh Bates "AL ee suaitty nae
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3: List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)

 

A

 

 

 

ar]

 

Public-assistance (such as welfare)

ai

 

 

Other (specify):

 

 

oF

 

 

 

 

Fr

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Employer Address Dates of employment Gross
monthly pay

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ANd Mea WIA Ev iA
AVE ale 7 Md be

Below, state any money you or your spouse have in bank accounts or in any other financial institution,

 

 

 

 

 

 

 

 

 

 

 

 

 

4. How much cash do you and your spouse have? $ M

 

Financial institution Type of account Amount you have Amount your
spouse has

{ .
Ve 4k ae bk
WE AA ki We
Nv Mf Nifty Mar
If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,

expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.

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Ds List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary

houschold furnishings.

 

Assets owned by you or your spouse

 

Home (Value)

A) HE

 

sf}

 

Other real estate (Value)

Al lf-

salt

 

Motor vehicle #/ (Value)

We

 

Make and year:

A
laa

 

Model:

 

Registration #:

 

Motor vehicle #2 (Value)

- ae

 

Make and year:

 

Model:

 

 

Registration #:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a
Other assets (Value) MV AL $ Vi A.
Other assets (Value) Ni [ 7f- $ A / (A
see re
6. State every person, business, or organization owing you or your spouse money, and the amount owed,
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money ¢
va so [As wiv
MAA VIA af lA
- t ~ -
vila |s via | a ft
¢y¥ Ne f ity
7, State the persons who rely on you or your spouse for support.

 

Name (or, if under 18, initials only)

Relationship

Age

 

 

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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the

monthly rate.

 

You

Your spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Rent or home-mortgage payment (including lot rented for mobile home)
Are real estate taxes included? © Yes O No -- $ e $ AV
Is property insurance included? O Yes © No
~ ~
Utilities (electricity, heating fuel, water, sewer, and telephone) 3 (4 3 uU iM
Al Vv Att
Home maintenance (repairs and upkeep) VY 4 $ N [A $ WV [A
y +
Food M14 s vWpk vila
Clothin N $ $ A
g AN
Laundry and dry-cleaning AV Ao $ AW $ WV | A
. e ,
Medical and dental expenses | A $ A $ 4
p A/ | N ALK
Transportation (not including motor vehicle payments) i {A 3 VV [4- $ N [wa
rs ae © 7 ™
Recreation, entertainment, newspapers, magazines, etc. N AL $ N A $ MN IA
Insurance (not deducted Jrom wages or included in mortgage payments)
Homeowner's or renter's: $ N A $ nN \AA
Life: ‘i Al ler : N ( &
Health: s Af (oH s A [ 4-
Motor vehicle: $ VV f $ N [A
Other: § JU A+ |s Al (
Taxes (nor deducted from wages or included in mortgage payments) (specify): $ . WV it § ° r i
€
Installment payments \ a :
Motor vehicle: $ [{4 $ 4
° , A NV
% r
Credit card (name): $ N 4 sy) t+
Department store (name): $3 lV (4 $ M 4-
Other: $ WV i $ NM +
éf8 "
Alimony, maintenance, and support paid to others $ VA | Ft $ A 7 4

 

 

 

 

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Regular expenses for operation of business, profession, or farm (attach detailed 5 VJ (4 $ Al | (

Statement)

Other (specify): / ( ¢ $ N14 $ Wain
“|
Total monthly expenses: : A/ \ oe N (A :

>

 

 

 

 

 

 

 

9. Do you expect any major changes to your hr income or expenses or in your assets or liabilities during the

next 12 months?
1 Yes O No If yes, degcribe on\an'attached sheet.

10. Have you spent — or will you be spepding — any money for expenses or attorney fees in conjunction with this
lawsuit? OO Yes ONo

If yes, how much? §

11, Provide any other information that will help explain why you cannot pay the costs of these proceedings.
i
12. Identify the city and state of ce
Your daytime phone number: J e
Your age: Wren years of schooling:

Last four digits of your social-security number:

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HERE ANE (WcoPPsRATED
HERE BY REFEPEIYCE
ITS enriteTy
Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 6of63 PagelD 570

From:

General Post Office. Zip Code Exempt

[glenn winningham; house of fearn]

C/O 6340 Lake Worth Boulevard, #437

Fort Worth, Texas [RR 76135]
Non-Domestic, Without the UNITED STATES

By Certified Maiq _—ieemems §=§€By Certified Mail Sa e..

To: And CC To:
Donald J Trump, President Erin Nealy Cox, US Attorney
United States of America Northern District of Texas
1600 Pennsylvania Avenue 1100 Commerce Street, Third Floor
Washington, District of Columbia 20500 Dallas, Texas 75242-1699
By Certified Mail a By Certified Mail (ar?
And CC To: And CC To:
Chuck Grassley William Barr, Attorney General
United States Senate, Committee on the Judiciary 950 Pennsylvania Avenue
290 Russell Senate Office Building Washington, District of Columbia 20530
Washington, District of Columbia 20510
AFFIDAVIT

Texas )

) Subscribed, Affirmed, Sealed
Tarrant County )

i, me, my, or myself, also known as glenn winningham; house of fearn, having been duly put under
affirmatiun, i do affirm, depose, and say;

1 all the facts stated herein are true, correct, complete, and are NOT hearsay, or misleading, but are
admissible as evidence, if not rebutted and proven inaccurate, and further,

2 iam competent in my affairs and the matters described herein, and further,
3 no “person” is competent in any of my affairs, and further,

4 in absence of evidence to the contrary, i am a Texian National and devoid of any knowledge of
surrendering myself to the District of Columbia and their US citizen scam, as found in the Affidavit
of Corporate Denial 062013 which is recorded with the Pinal County Recorder at Fee Number
2013-032373, which is now public policy and the unrebutted truth, a true copy of which is attached
hereto, all of which is incorporated herein by reference in its entirety, and | hold any respondents to
the strictest proof to the contrary, and further,

5 in absence of contrary evidence i am a free man on the soil of Texas and other American states
from time to time, and devoid of any knowledge of surrendering or volunteering myself to the armed
forces of any country and hold any respondents to the strictest proof to the contrary, and further,

6 ihave personal, executive, and documented knowledge of the facts and evidence contained herein
and if called to testify shall so state, and further,

7 iwitness that the citation of state and federal statutes, codes, rules, regulations, and court citations,
within any document created by me, is only to notice my servants that which is applicable to them

demand to proceed without the excise tax / filing fee / extortion page 1
10

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and is not intended, nor shall it be construed, to mean that i confer, submit to, or have entered into
any jurisdiction alluded to thereby, and further,

i have no firsthand knowledge of a date of birth, and my mother, and the doctor who assisted with it
are now dead, and i failed to cross examine them to determine the veracity of their information,
therefore any evidence of a date of birth is hearsay evidence, and inadmissible as evidence in any
court of law, but i do remember finishing high school in the year 1975, (over 40 years ago)
therefore, i am well past the age of majority, and further,

in absence of evidence to the contrary, i am a Texian national and devoid of any knowledge of
surrendering myself to the District of Columbia and their government employee scam, as found in
the Affidavit of Corporate Denial 062013 which is recorded with the Pinal County Recorder at Fee
Number 2013-032373, which is now public policy and the unrebutted truth, a true copy of which is
attached hereto, all of which is incorporated herein by reference in its entirety, and | hold any
respondents to the strictest proof to the contrary, and further,

in absence of evidence to the contrary, i am a Texian national and devoid of any knowledge of
surrendering myself to the District of Columbia and their cestui que trust scam, as found in the
Affidavit of Corporate Denial 062013 which is recorded with the Pinal County Recorder at Fee
Number 2013-032373, which is now public policy and the unrebutted truth, a true copy of which is
attached hereto, all of which is incorporated herein by reference in its entirety, and | hold any
respondents to the strictest proof to the contrary, and further,

in absence of evidence to the contrary, i am a Texian national and devoid of any knowledge of
surrendering or volunteering myself to the District of Columbia and their Social Security scam, since
| fail to be a government employee and under District of Columbia Codes, anyone that has a Social
Security Number is “federal personnel”

“(13) the term “Federal personnel” means officers and employees of the Government of the
United States, members of the uniformed services (including members of the Reserve
Components), individuals entitled to receive immediate or deferred retirement benefits under
any retirement program of the Government of the United States (including survivor
benefits).” 5 USC § 552a. (a)(13) [emphasis added]

and hold any respondents to the strictest proof to the contrary, and further,

i have many good and honorable servants that work for governments on turtle Island, at various
levels, and i have no idea what they get paid, but in my opinion, it is not enough, because we need
people to hunt down thieves and murderers, and i am cognizant of my duty to come to their aid
when needed,

“Posse comitatus. Latin. The power or force of the county. The entire population of a county
above the age of fifteen, which a sheriff may summon to his assistance in certain cases, as
to aid him in keeping the peace, in pursuing and arresting felons, etc. Williams v. State, 253
Ark. 973, 490 S.W.2d 117, 121.” Black's Law Dictionary 6th Ed. 1990

but when they perjure their oaths and engage in unlawful activity, it is my duty to bring their crimes
to light, and to do everything i can to make sure they are brought to justice, and further,

even though your rule 201 of your rules of evidence, is foreign to me, as a man, i intend to compel
any judge who reads this declaration, to give judicial notice, since so many of them like to be a
bought and paid for clerks masquerading as a judge, and thereby pretend that some things are not
said,

“Indeed, no more than (affidavits) are necessary to make the Prima facie case.” United
States V. Kis, 658 F. 2", 526, 536 (7" Cir. 1981); Cert Denied, 50 U.S.L.W. 2169; S. Ct March 22,
1982, and further,

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14 On 13 May, 2020, | received an ORDER OF REFERRAL from Reed O'Connor, a (bought and paid
for) Clerk masquerading as a UNITED STATES DISTRICT JUDGE, ordering his slave JEFFREY L
CURETON to respond, and further,

15 On 14 May, 2020, | received an ORDER AND NOTICE OF DEFICIENCY from JEFFREY L
CUREON, a (bought and paid for) Clerk masquerading as a UNITED STATES MAGISTRATE
JUDGE, and further,

16 Attached to CURETON’S ORDER AN NOTICE OF DEFICIENCY is an APPLICATION TO
PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS (Long Form)
interrogatory requiring all sorts of information about Federal Reserve Notes in bank accounts,
income (Federal Reserve Notes), Expenses (Federal Reserve Notes), government employers (for
Federal Reserve Notes sources), assets (in Federal Reserve Notes), commercial motor vehicles
(Federal Reserve Notes), and further,

17 According to the website for the UNITED STATES DISTRICT COURT FOR THE NORTHERN
DISTRICT OF TEXAS, Cureton’s and O’Connor’s Oaths of Office say;
"lL , do solemnly swear (or affirm) that | will administer justice without respect to
persons, and do equal right to the poor and to the rich, and that | will faithfully and
impartially discharge and perform all the duties incumbent upon me as under the
Constitution and laws of the United States. So help me God.” , and further,

18 The Constitution for the United States of America requires CURETON AND O'CONNOR to
“Support” the Constitution
“The Senators and Representatives before mentioned, and the Members of the several State
Legislatures, and all executive and judicial Officers, both of the United States and of the
several States, shall be bound by Oath or Affirmation, to support this Constitution; but no
religious Test shall ever be required as a Qualification to any Office or public Trust under the
United States.” Constitution for the United States of America, Article VI, Section 3 [emphasis
added], and further,

19 JEFFREY CURETON’S Oath of Office, and Reed O’Connor’s Oath of Office is to me
“and because it brings into action, and enforces this great and glorious principle, that the
People are the sovereign of this country, and consequently that fellow Citizens and joint
sovereigns cannot be degraded by appearing with each other in their own courts to have
their controversies determined.“ Chisolm v Georgia 2 Dall. 419, at 479 [Emphasis added],

because my ancestors were in Virginia prior to the War of Independence pursuant to the Maxims of

law
“Jura sanguinis nullo jure civili dirimi possunt. The right of blood and kindred cannot be

destroyed by any civil law. Dig. 50, 17, 9; Bacon's Max. Reg. 11.” Bouvier's Law Dictionary
1856 Edition, page 768

“the power which is derived cannot be greater than that from which it is derived” — Deritiva
potestas non potest esse major primitiva. - Bouvier’s Law Dictionary 1856 Edition

and my ancestors wrote the Constitution for the United States of America, as evidenced in the
Statement of Original Status that is in the Affidavit of Corporate Denial 062013 which is recorded
with the Pinal County Recorder at Fee Number 2013-032373, which is now public policy and the
unrebutted truth, a true copy of which is attached hereto, all of which is incorporated herein by
reference in its entirety, and further,

20 JEFFREY CURETON is working under instructions from Reed O’Connor and they have

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demonstrated that they intend to operate in their private capacity under the Clearfield doctrine
“Governments descend to the level of a mere private corporation, and take on the
characteristics of a mere private citizen... where private corporate commercial paper
[Federal Reserve Notes] and securities [checks] is concerned... For purposes of suit, such
corporations and individuals are regarded as entities entirely separate from government."
Clearfield Trust Co. v. United States 318 U.S. 363-371 1942

as revenue officers under the Federal Tax Lien Act

“(1) SECURITY INTEREST.-The term ‘security interest' means any interest in property
acquired by contract for the purpose of securing payment or performance of an obligation or
indemnifying against loss or liability. A security interest exists at any time

"(3) MOTOR VEHICLE.-The term ‘motor vehicle’ means a self-propelled vehicle which is
registered for highway use under the laws of any State or foreign country.

(4) SECURITY.-The term ‘security’ means any bond, debenture, note, or certificate or other
evidence of indebtedness, issued by a corporation or a government or political subdivision
thereof, with interest coupons or in registered form, share of stock, voting trust certificate,
or any certificate of interest or participation in, certificate of deposit or receipt for, temporary
or interim certificate for, or warrant or right to subscribe to or purchase any of the foregoing:
negotiable instrument: or money.” Federal Tax Lien Act of 1966 at Public Law 89-719 at 80 Stat.
1130-1131, and further,

In 1871 BAR members in the US Congress set up an unconstitutional municipal corporation for the
District of Columbia

“Two national governments exist, one to be maintained under the Constitution, with all its
restrictions, the other to be maintained by Congress outside and independently of that
instrument” Dissenting opinion of Justice Marshall Harlan. Downes v. Bidwell, 182 U.S. 244 1901

and prior to the War of Independence, there were no nations on the planet, just corporate
governments,

“A State does not owe its origin to the Government of the United States, in the highest or in
any of its branches. It was in existence before it. It derives its authority from the same pure
and sacred source as itself: The voluntary and deliberate choice of the people... A State is
altogether exempt from the jurisdiction of the Courts of the United States, or from any other
exterior authority, unless in the special instances where the general Government has power
derived from the Constitution itself... p. 448 “The question to be determined is, whether this
State, so respectable, and whose claim soars so high, is amenable to the jurisdiction of the
Supreme Court of the United States? This question, important in itself, will depend on
others, more important still; and may perhaps, be ultimately resolved into one, no less
radical than this- “do the people of the United States form a NATION? “By that law the
several States and Governments spread over our globe, are considered as forming a
society, not a NATION.” [caps in the original.] Chisholm. Ex’r v. Georgia, 2 Dall. 419, 1 L.Ed. 440
(1794),

therefore, the unconstitutional corporation in 1871 was set up after the existing model, and all
governments at the time of the War of Independence were military dictatorships with various forms
of despotism

“In despotic Governments, the Government has usurped, in a similar manner, both upon the
state and the people: Hence all arbitrary doctrines and pretensions concerning the Supreme,
absolute, and incontrolable, power of Government. In each, man is degraded from the prime
rank, which he ought to hold in human affairs: In the latter, the state as well as the man is
degraded. Of both degradations, striking instances occur in history, in politics, and in
common life.” Chisholm v Georgia 2 Dal. 419, at 461,

“...Statutes have been passed extending the courts of admiralty and vice-admiralty far

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beyond their ancient limits for depriving us the accustomed and inestimable privilege of trial
by jury, in cases affecting both life and property....... to supersede the course of common law
and instead thereof to publish and order the use and exercise of the law martial....... and for
altering fundamentally the form of government established by charter. We saw the misery to
which such despotism would reduce us.” Causes and Necessity for Taking up Arms (1775), and
further,

The Constitution for the United States of America (1787) is a trust indenture with delegated
authority ONLY

“governments are but trustees acting under derived authority and have no power to delegate
what is not delegated to them. But the people, as the original fountain might take away what
they have delegated and entrust to whom they please. ... The sovereignty in every state
resides in the people of the state and they may alter and change their form of government at
their own pleasure.” Luther v. Borden, 48 US 1, 12 L.Ed. 581

"Sovereignty itself is, of course, not subject to law, for it is the author and source of law; ...
while sovereign powers are delegated to the agencies of government, sovereignty itself
remains with the people, by whom and for whom all government exists and acts." Yick Wo v
Hopkins, 118 US 356, at pg 370, and further,

Texas is under a military occupation (despotism) and has been since 1863 when the Union Army
invaded Galveston

“*...Martial Law is the immediate and direct effect and consequence of occupation or
conquest. The presence of a hostile army proclaims its Martial Law.” Article 1, General Orders
100 (The Lieber Code) [emphasis added] , and further,

a. The Occupation continues to this day because there was no Treaty of Peace and there have
been no Special Proclamations ending the Martial Law
“Martial Law does not cease during the hostile occupation, except by special
proclamation, ordered by the commander in chief; or by special mention in the treaty of
peace concluding the war,....” Article 2, General Orders 100 (The Lieber Code) [emphasis
added] , and further,

b. There are 3 kinds of martial law

i. Full Martial Law
-Used during an actual invasion, or armed insurrection,
-Troops on the street

ii. Martial Law Proper
-Law of the Armed Forces,
-When a Captain tells a Sergeant what to do

ii. | Martial Law rule
-Law of Emergency and Necessity,
-used during peace times.

Ex Parte Milligan 4 Wall (71 U.S.) 2, 18 L.Ed. 281, p 302, and further,

c. All Police are Military Police
“Martial Law affects chiefly the police and collection of public revenue and taxes,
whether imposed by the expelled government or by the invader, and refers mainly to the
support and efficiency of the army, its safety, and the safety of its operations.” General
Orders 100 (The Lieber Code), Article 10 [emphasis added], and further,

d. All military police are Privateers operating on the high seas of commerce
“privateer 1. A vessel owned and operated by private persons, but authorized by a nation
on certain conditions to damage the commerce of the enemy by acts of piracy. 2. A sailor
on such a vessel.” Blacks Law Dictionary, 8th Edition, page 3785 [emphasis added]

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“privateering, International law. The practice of arming privately owned merchant ships
for the purpose of attacking enemy trading ships. Before the practice was outlawed,
governments commissioned privateers by issuing letters of marque to their merchant
fleets. Privateering was prohibited by the Declaration of Paris Concerning Naval Warfare
of 1856, which has been observed by nearly all nations since that time” Blacks Law
Dictionary, 8th Edition, page 3785 [emphasis added]

because they are all US citizens from the District of Columbia

“We therefore decline to overrule the opinion of Chief Justice Marshall: We hold that the
District of Columbia is not a state within Article 3 of the Constitution. In other words
cases between citizens of the District and those of the states were not included of the
catalogue of controversies over which the Congress could give jurisdiction to the federal
courts by virtue of Article 3. In other words Congress has exclusive legislative
jurisdiction over citizens of Washington District of Columbia and through their plenary
power nationally covers those citizens even when in one of the several states as though
the district expands for the purpose of regulating its citizens wherever they go
throughout the states in union" National Mutual Insurance Company of the District of
Columbia v. Tidewater Transfer Company, 337 U.S. 582, 93 L.Ed. 1556 (1948)

operating under International Law

“INTERNATIONAL LAW RULE: Adopted for areas under Federal legislative jurisdiction”
“Federalizes State civil law, including common law.--The rule serves to federalize not
only the statutory but the common law of a State. ... STATE AND FEDERAL VENUE
DISCUSSED: The civil laws effective in an area of exclusive Federal jurisdiction are
Federal law, notwithstanding their derivation from State laws, and a cause arising under
such laws may be brought in or removed to a Federal district court under sections 24 or
28 of the former Judicial Code (now sections 1331 and 1441 of title 28, United States
Code), giving jurisdiction to such courts of civil actions arising under the "* * *laws * * *
of the United States" ...” Jurisdiction over Federal Areas Within the States — Report of the
Interdepartmental Committee for the Study of Jurisdiction over Federal Areas Within the States,
Part Il, A Text of the Law of Legislative Jurisdiction Submitted to the Attorney General and
Transmitted to the President June 1957, page 158-165

because the Law of War falls under International Law (The Law of Nations)

“The law of war can no more wholly dispense with retaliation than can the law of nations,
of which it is a branch. Yet civilized nations acknowledge retaliation as the sternest
feature of war. A reckless enemy often leaves to his opponent no other means of
securing himself against the repetition of barbarous outrage” General Orders 100 (Lieber
Code) Article 27, and further,

Martial Law ONLY affects “subjects of the enemy” and aliens

“Martial Law extends to property, and to persons, whether they are subjects of the
enemy or aliens to that government.” General Orders 100 (The Lieber Code), Article 7
[emphasis added]

and subjects are government employees and corporations and anything created by the
government

“All subjects over which the sovereign power of the state extends are objects of taxation,
but those over which it does not extend are exempt from taxation. This proposition may
also be pronounced as self-evident. The sovereignty of the state extends to everything
which exists by its authority or its permission.” McCullough v Maryland, 17 U.S. [4 Wheat]
316 (1819). [emphasis added]

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or have received privileges by way of a contract

“The rights of sovereignty extend to all persons and things, not privileged that are within
the territory. They extend to all strangers resident therein; not only to those who are
naturalized, and to those who are domiciled therein, having taken up their abode with the
intention of permanent residence, but also to those whose residence is transitory. All
strangers are under the protection of the sovereign while they are within his territory and
owe a temporary allegiance in return for that protection.” Carlisle v United States 83 U.S.
147, 154 (1873)

“Let a State be considered as subordinate to the People: But let everything else be
subordinate to the State.” Chisholm v Georgia 2 US 419 at 455

“The term resident and citizen of the United States is distinguished from a Citizen of one
of the several states, in that the former is a special class of citizen created by Congress."
U.S. v. Anthony 24 Fed. 829 (1873)

and subjects are subject to the regulations and therefore property, and slaves are property
“The Congress shall have power to dispose of and make all needful rules and regulations
respecting the.... other property belonging to the United States......” Article 4, Section 3,
Clause 2, Constitution for the United States of America

and this is true in all corporations masquerading as governments

“Section 2 Definitions (1) In this Act,

owned means, subject to the regulations,.....;” Canadian Ownership and Control
Determination Act, and further,

Military Jurisdiction is of two kinds, Statutes and the common law of War

“Military jurisdiction is of two kinds: First, that which is conferred and defined by statute;
second, that which is derived from the common law of war. Military offenses under the
statute law must be tried in the manner therein directed; but military offenses which do
not come within the statute must be tried and punished under the common law of war.
The character of the courts which exercise these jurisdictions depends upon the local
laws of each particular country.

In the armies of the United States the first is exercised by courts-martial, while cases
which do not come within the "Rules and Articles of War," or the jurisdiction conferred
by statute on courts-martial, are tried by military commissions.” Article 13, General Orders
100 (The Lieber Code) [emphasis added]

and all statutes, codes, rules and regulations, are edicts under Martial law

“NOTE: Under the Law-Martial, only the criminal jurisdiction of a Military Court is the
recognized law. But as Article Three says, "the civil courts can continue wholly or in part
as long as the civil jurisdiction does not violate the Military orders laid down by the
Commander in Chief or one of his Commanders." By this means; a military venue,
jurisdiction, and authority are imposed upon the occupied populace under disguise of
the ordinary civil courts and officers of the occupied district or region, because the so-
called civil authorities in an occupied district, or region, only act at the pleasure of a
military authority.

It should also be noted here that the several State Legislatures, County Boards of
Commissioners, and City Councils, are constantly legislating to please the edicts of the
federal government (the occupying force) and that their legislation, in this sense, is not
an exercise of State sovereignty, but instead, a compliance with edicts of the military
force which occupies the several States and consequently are edicts of Martial Law
Rule.” Dyett v Turner 439 P2d 266 @ 269, 20 U2d 403 [1968] The Non-Ratification of the
Fourteenth Amendment by Judge A.H. Ellett, Utah Supreme Court [emphasis added]

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with the so-called Judge CURETON and O’Connor actually being a (bought and paid for) clerks
masquerading as Judge

““When acting to enforce a statute and its subsequent amendments to the present date,
the judge of the municipal court is acting as an administrative officer and not in a judicial
capacity; courts administrating or enforcing statutes do not act judicially, but merely
ministerially....but merely act as an extension as an agent for the involved agency -- but
only in a “ministerial” and not a “discretionary capacity...” Thompson v. Smith, 154 S.E.
579, 583; Keller v. P.E., 261 US 428; F.R.C. v. G.E., 281, U.S. 464 [emphasis added]

“It is the accepted rule, not only in state courts, but, of the federal courts as well, that
when a judge is enforcing administrative law they are described as mere ‘extensions of
the administrative agency for superior reviewing purposes’ as a ministerial clerk for an
agency..." 30 Cal 596; 167 Cal 762

"judges who become involved in enforcement of mere statutes (civil or criminal in
nature and otherwise), act as mere "clerks" of the involved agency..." K.C. Davis,
ADMIN. LAW, Ch. 1 (CTP. West's 1965 Ed.)

and they are proceeding under the Federal Tax Lien Act of 1966

“(1) SECURITY INTEREST.-The term ‘security interest’ means any interest in property
acquired by contract for the purpose of securing payment or performance of an
obligation or indemnifying against loss or liability. A security interest exists at any time
"(3) MOTOR VEHICLE.-The term 'motor vehicle’ means a self-propelled vehicle which is
registered for highway use under the laws of any State or foreign country.

"(4) SECURITY.-The term 'security' means any bond, debenture, note, or certificate or
other evidence of indebtedness, issued by a corporation or a government or political
subdivision thereof, with interest coupons or in registered form, share of stock, voting
trust certificate, or any certificate of interest or participation in, certificate of deposit or
receipt for, temporary or interim certificate for, or warrant or right to subscribe to or
purchase any of the foregoing: negotiable instrument: or money.” Federal Tax Lien Act of
1966 at Public Law 89-719 at 80 Stat. 1130-1131

and when a clerk (masquerading as judge) is an agent for the administrative agency it is always
a kangaroo court and a Bill of Pains and Penalties

“Kangaroo court. Term descriptive of a sham legal proceeding in which a person's rights
are totally disregarded and in which the result is a foregone conclusion because of the
bias of the court or other tribunal.” Black’s Law Dictionary, 6th Edition, page 868, [emphasis
added]

“Bill of Attainder” means Legislative acts, no matter what their form, that apply either to
named individuals or to easily ascertainable members of a group in such a way as to
inflict punishment on them without a judicial trial. United States v. Brown, 381 U.S. 437,
448-49, 85S. Ct. 1707, 1715, 14 L.Ed. 484, 492: United States v. Lovett, 328 U.S.

303, 315, 66 S.Ct. 1073, 1079, 90 L.Ed. 1252

“bill of attainder. 2. A special legislative act prescribing punishment, without a trial, for a
specific person or group. ¢ Bills of attainder are prohibited by the U.S. Constitution (art. |,
§ 9, cl. 3; art. I, § 10, cl. 1). — Also termed act of attainder. See ATTAINDER; BILL OF
PAINS AND PENALTIES . [Cases: Constitutional Law 82.5. C.J.S. Constitutional Law §§
429-431.]” Black’s Law Dictionary, 8th Edition, page 496

“BILL OF PAINS AND PENALTIES bill of pains and penalties. A legislative act that,
though similar to a bill of attainder, prescribes punishment less severe than capital

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punishment. ¢ Bills of pains and penalties are included within the U.S. Constitution's ban
on bills of attainder. U.S. Const. art I, § 9. [Cases: Constitutional Law 82.5. C.J.S.
Constitutional Law §§ 429-431.]” Black’s Law Dictionary, 8th Edition, page 499.

which is a violation of the Constitution for the United States of America
“No Bill of Attainder .... shall be passed.” Article |, Section 9, Clause 3, Constitution for the

United States of America

“No State shall ....... pass any Bill of Attainder.....” Article 1, Section 10, Clause 1,
Constitution for the United States of America

and any (bought and paid for) Clerk enforcing administrative law and pretending to be a judge,
(military commissioners) DOES NOT have the authority to do anything judicial, like issuing
orders or warrants, and if any Clerk pretending to be a judge attempts to do anything judicial, it
is a fraud and a nullity and they accept all liability for their actions.

"Ministerial officers are incompetent to receive grants of judicial power from the

legislature, their acts in attempting to exercise such powers are necessarily nullities"
Burns v. Sup., Ct., SF, 140 Cal. 1

 

"Where there is no jurisdiction there is no judge; the proceeding is as nothing. Such has
been the law from the days of the Marshalsea, 10 Coke 68; also Bradley v. Fisher, 13 Wall
335,351." Manning v. Ketcham, 58 F.2d 948,

and everything they do is brutum fulmen

“brutum fulmen”. “An empty noise; an empty threat. A judgment void upon its face
which is in legal effect no judgment at all, and by which no rights are divested, and from
which none can be obtained; and neither binds nor bars anyone. Dollert v. Pratt-Hewitt
Oil Corporation, Tex.Civ.Appl, 179 S.W.2d 346, 348. Also, see Corpus Juris Secundum,
“Judgments” §§ 499, 512 546, 549. Black’s Law Dictionary, 4th Edition

and all officials working for the unconstitutional corporation cease to represent the government
“An officer who acts in violation of the Constitution ceases to represent the government”.
Brookfield Const. Co. v. Stewart, 284 F. Supp. 94

"Governments descend to the level of a mere private corporation, and take on the
characteristics of a mere private citizen ... where private corporate commercial paper
[Federal Reserve Notes] and securities [checks] is concerned .. . For purposes of suit,
such corporations and individuals are regarded as entities entirely separate from
government.” Clearfield Trust Co. v. United States 318 U.S. 363-371 1942

and officials working for the unconstitutional corporation are operating in their private capacity
“OATH....All oaths must be lawful, allowed by the common law, or some statute; if they
are administered by persons in a private capacity, or not duly authorized, they are coram
non judice, and void; and those administering them are guilty of a high contempt, for
doing it without warrant of law, and punishable by fine and imprisonment. 3 /nst. 165; 4
Inst. 278; 2 Roll. Abr. 277.” Tomlin’s Law Dictionary, 1835 Edition, Volume 2 [emphasis
added],

and all officials working for the unconstitutional corporation have no immunity

“Judge loses his absolute immunity from damage actions only when he acts in clear
absence of all jurisdiction or performance of an act which is not judicial in nature.”
Schucker v. Rockwood, 846 F.2d 1202

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“When enforcing mere statutes, judges of all courts do not act judicially (and thus are
not protected by “qualified” or “limited immunity,” - SEE: Owen v. City, 445 U.S. 662:
Bothke v. Terry, 713 F2d 1404) - - “but merely act as an extension as an agent for the
invoived agency -- but only in a “ministerial” and not a “discretionary capacity...”
Thompson v. Smith, 154 S.E. 579, 583: Keller v. P.E., 261 US 428: F.R.C. v. G.E., 281, U.S.
464. Immunity for judges does not extend to acts which are clearly outside of their
jurisdiction. Bauers v. Heisel, C.A. N.J. 1966, 361 F.2d 581, Cert. Den. 87 S.Ct. 1367, 386
U.S. 1021, 18 L.Ed. 2d 457 (see also Muller v. Wachtel, D.C.N.Y. 1972, 345 F.Supp. 160;
Rhodes v. Houston, D.C. Nebr. 1962, 202 F.Supp. 624 affirmed 309 F.2d 959, Cert. den 83 St.
724, 372 U.S. 909, 9 L.Ed. 719, Cert. Den 83 S.Ct. 1282, 383 U.S. 971, 16 L.Ed. 2nd 311,
Motion denied 285 F.Supp. 546).

and they have no duty to do anything unconstitutional
“No one is bound to obey an unconstitutional law and no courts are bound to enforce it."
16th American Jurisprudence 2d, Section 177 late 2nd, Section 256

“An unconstitutional act is not law; it confers no rights; it imposes no duties; affords no
protection; it creates no office; it is in legal contemplation, as inoperative as though it
had never been passed.” Norton vs Shelby County, 118 U.S. 425, p. 442

“An unconstitutional law is void, and is as no law. An offence created by it is not a
crime." Ex parte Siebold, 100 U.S. 371, 376 (1880), quoted with approval in Fay v. Noia, 372
U.S. 391, 408 (1963)

“it never became a law and was as much a nullity as if it had been the act or declaration
of an unauthorized assemblage of individuals." (Ryan v. Lynch, 68 Ill. 160)

“_..Where any state proceeds against a private individual in a judicial forum it is well
settled that the state, county, municipality, etc. waives any immunity to counters, cross
claims and complaints, by direct or collateral means regarding the matters involved.”
Luckenback v. The Thekla, 295 F 1020, 226 Us 328; Lyders v. Lund, 32 F2d 308;

therefore, they are involved in a seditious conspiracy in violation of their own codes

“If two or more persons in any State or Territory, or in any place subject to the
jurisdiction of the United States, conspire to overthrow, put down, or to destroy by force
the Government of the United States, or to levy war against them, or to oppose by force
the authority thereof, or by force to prevent, hinder, or delay the execution of any law of
the United States, or by force to seize, take, or possess any property of the United States
contrary to the authority thereof, they shall each be fined under this title or imprisoned
not more than twenty years, or both.” 18 USC § 2384

and they are engaged in treason

“We have no more right to decline the exercise of jurisdiction which is given than to
usurp that which is not given. The one or the other would be treason to the Constitution.”
Cohen v Virginia, 19 U.S. 264 [emphasis added]

and perjuring their oaths, especially in light of the fact that officers of the court are presumed to
know the law

“Officers of the court have no immunity, when violating a constitutional right, for they are
deemed to know the law.” Owens v Independence 100 S.C.T. 1398 (Ezra 7:23-26), and
further,

24 The Constitution for the United States of America requires that | be provided with a Republican form
of government

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“The United States shall guarantee to every State in this Union a Republican Form of
Government.......... ” Article IV, Section 4, Constitution for the United States of America

which fails to include any military commissioners operating under the General Orders 100 (The
Lieber Code)

“Military jurisdiction is of two kinds: First, that which is conferred and defined by statute;
second, that which is derived from the common law of war. Military offenses under the
statute law must be tried in the manner therein directed; but military offenses which do not
come within the statute must be tried and punished under the common law of war. The
character of the courts which exercise these jurisdictions depends upon the local laws of
each particular country.

In the armies of the United States the first is exercised by courts-martial, while cases which
do not come within the "Rules and Articles of War," or the jurisdiction conferred by statute
on courts-martial, are tried by military commissions.” Article 13 General Orders 100 (The
Lieber Code) [emphasis added]

“CA/MG personnel are charged with the following:

(1) Establishment and administration of military commissions, provost courts, and special
military government courts, and their jurisdiction and procedure.

(2) Supervision, control, or closing, if necessary; of local, criminal, and civil courts.

(3) Supervision of members of the local bar.

(4) Decisions as to modifications or suspension of local criminal and civil laws.

(5) General legal advice and assistance on all aspects of the occupation.” FM 27-5 United
States Army and Navy Manual of Civil Affairs (1947), Section II, Civil Affairs / Military Government
Responsibilities and Functions, c. Establishment of Courts and administration of law

and a Republican form of Government fails to include any star chambers

“The corrupt Star Chamber Courts of England required Respondents to have counsel. Star
Chamber stood for swiftness and arbitrary power, it was a limitation on the common law.”
Faretta v. California, 422 U.S. 806, 821 [Emphasis added]

and a Republican form of government fails to include any statutes, codes, rules or regulations
because all statutes, codes, rules and regulations are edicts under Martial Law, as described
herein, which ONLY to “subjects of the enemy” and aliens.

“But in considering the question before us, it must be borne in mind that there is no law of
nations standing between the people of the United States and their Government, and
interfering with their relation to each other. The powers of the Government, and the rights of
the citizens under it, are positive and practical regulations plainly written down. The people
of the United States have delegated to it certain enumerated powers, and forbidden it to
exercise others.” Dred Scott v. Sandford, 19 How (60 U.S.) 393, 452, 15 L.Ed. 691 (A.D. 1856-
1857) [emphasis added}

“In despotic Governments, the Government has usurped, in a similar manner, both upon the
State and the people: Hence all arbitrary doctrines and pretensions concerning the Supreme,
absolute, and incontrolable, power of Government. In each, man is degraded from the prime
rank, which he ought to hold in human affairs: In the latter, the state as well as the man is
degraded. Of both degradations, striking instances occur in history, in politics, and in
common life.” Chisholm v Georgia 2 Dal. 419, at 461

which means CURETON and O'Connor are busy imposing their Euless buddies military despotism
on me, and they already know all about this because officers of their so-called court are required to
know the law,

“Officers of the court have no immunity, when violating a constitutional right, for they are
deemed to know the law.” Owens v Independence 100 S.C.T. 1398 (Ezra 7:23-26), and further,

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JEFFREY CURETON and Reed O'Connor can be Judges or Military Commissioners under Martial
Law, depending on what issues they are dealing with and whether they choose to honor their Oaths
of Office, but they cannot be both at the same time, and further,

It is inpossible for JEFFREY CURETON or Reed O'Connor to make a legal determination about me
without representing me, and they have no authority to represent me, and further,

It is impossible for JEFFREY CURETON or Reed O'Connor to accuse me of anything without
perjuring their oath of office because my ancestors authored the Constitution for the United States
of America, which is their authority to operate,

"Sovereignty itself is, of course, not subject to law, for it is the author and source of law; but
in our system, while sovereign powers are delegated to the agencies of government,
sovereignty itself remains with the people, by whom and for whom all government exists and
acts." Yick Wo v Hopkins, 118 US 356, at pg 370;

which means JEFFREY CURETON or Reed O’Connor operate under my authority

“A Sovereign is exempt from suit, not because of any formal conception or obsolete theory,
but on the logical and practical ground that there can be no legal Right as against the
authority that makes the law on which the Right depends." --Kawananakoa v. Polyblank, 205
U.S. 349, 353, 27 S. Ct. 526, 527, 51 L. Ed. 834 (1907),

and | failed to give Cureton or O/Connor permission to talk to me, much less make a legal
determination about me or make any presumptions about me,

“The power to create presumptions is not a means of escape from constitutional
restrictions.” Bailey v Alabama, 219 U.S. 219, 238, et seq., 31 S.Ct. 145; Manley v Georgia, 279
U.S. 1, 5-6, 49 S.Ct. 215, and further,

JEFFREY CURETON and Reed O'Connor are perjuring their oaths of office by accusing me of
being a US citizen when there is no evidence that | am a US citizen

“We therefore decline to overrule the opinion of Chief Justice Marshall: We hold that the
District of Columbia is not a state within Article 3 of the Constitution. In other words cases
between citizens of the District and those of the states were not included of the catalogue of
controversies over which the Congress could give jurisdiction to the federal courts by virtue
of Article 3. In other words Congress has exclusive legislative jurisdiction over citizens of
Washington District of Columbia and through their plenary power nationally covers those
citizens even when in one of the several states as though the district expands for the
purpose of regulating its citizens wherever they go throughout the states in union" National
Mutual Insurance Company of the District of Columbia v. Tidewater Transfer Company, 337 U.S.
582, 93 L.Ed. 1556 (1948)

and | have specifically stated that | am NOT a US citizen, as evidenced in the Affidavit of Corporate
Denial 062013 which is recorded with the Pinal County Recorder at Fee Number 2013-032373,
which is now public policy and the unrebutted truth, a true copy of which is attached hereto, all of
which is incorporated herein by reference in its entirety, and further,

JEFFREY CURETON and Reed O’Connor both know that it is impossible to pay their filing fee
extortion with Federal Reserve Notes

“There is a distinction between a debt discharged and one paid. When discharged, the debt
still exists, though divested of its character as a legal obligation during the operation of the
discharge.” Stanek v. White (1927), 172 Minn. 390, 215 N.W. 781

and | have tried to use lawful money (gold or silver coin) with the Clerk and the Clerk told me they

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would convert it to Federal Reserve Notes, which falls under International Law with their Texas
Business and Commerce Code, and their Federal Tax Lien Act, therefore CURETON and O’Connor
intend perjure their oaths by subjecting me to their commercial transaction

“Governments descend to the level of a mere private corporation, and take on the
characteristics of a mere private citizen ... where private corporate commercial paper
[Federal Reserve Notes] and securities [checks] is concerned . .. For purposes of suit, such
corporations and individuals are regarded as entities entirely separate from government."
Clearfield Trust Co. v. United States 318 U.S. 363-371 1942,

and | already filed an Affidavit of Inability to Pay Legal Tender, so is there a recommended number
of times | have to say it, which is further evidence of their intent to engage in multiple of their piece
of shit felonies, that they love to engage in with impunity, because their US Attorney BAR member
buddies refuse to do anything about it, unless they have some political agenda, and further.

| have also served my Form 1020 requiring to know how to lawfully pay this debt, by

a. Certified Mail 7018 0040 0000 6092 0078 on Lyle W Cayce, Clerk of the Court of Appeals,

b. Certified Mail 7018 0040 0000 6092 0085 on Prescilla H Owen, Chief Judge of the Court of
Appeals,

Certified Mail 7018 0040 0000 6092 0092 on Ted Cominos, Fifth Circuit Executive, and
Certified Mail 7018 0040 0000 6092 0108 on Barbara MG Lynn, Chief Judge, Northern District

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and they failed to respond, therefore, | served a NOTICE OF DEFAULT AND OPPORTUNITY TO

CURE by

a. Certified Mail 7018 0040 0000 6092 0276 on Lyle W Cayce, Clerk of the Court of Appeals,

b. Certified Mail 7018 0040 0000 6092 0283 on Prescilla H Owen, Chief Judge of the Court of
Appeals,

c. Certified Mail 7018 0040 0000 6092 0290 on Ted Cominos, Fifth Circuit Executive, and

d. Certified Mail 7018 0040 0000 6092 0306 on Barbara MG Lynn, Chief Judge, Northern District

and they failed to respond, therefore, | served a FINAL NOTICE OF DEFAULT by

a. Certified Mail 7018 0040 0000 6092 0429 on Lyle W Cayce, Clerk of the Court of Appeals,

b. Certified Mail 7018 0040 0000 6092 0436 on Prescilla H Owen, Chief Judge of the Court of
Appeals,

c. Certified Mail 7018 0040 0000 6092 0443 on Ted Cominos, Fifth Circuit Executive, and

d. Certified Mail 7018 0040 0000 6092 0450 on Barbara MG Lynn, Chief Judge, Northern District,
a true copy of each of which together with proofs of service are attached hereto, all of each of
which are incorporated herein by reference in their entirety, and as evidenced by their failure to
respond, | owe nothing!, and further,

JEFFREY CURETON or Reed O'Connor have demonstrated that they intend to be military
commissioners, by attempting to convert this case into a commercial transaction,

“Governments descend to the level of a mere private corporation, and take on the
characteristics of a mere private citizen . . . where private corporate commercial paper
[Federal Reserve Notes] and securities [checks] is concerned .. . For purposes of suit, such
corporations and individuals are regarded as entities entirely separate from government."
Clearfield Trust Co. v. United States 318 U.S. 363-371 1942,

so they can call it a contract and use it as an excuse to nullify their oath of office, and sit there and
play stupid, like military commissioners do, and further,

JEFFREY CURETON and Reed O'Connor intend to convert my right to justice into a privilege
“The claim and exercise of a Constitutional (guaranteed) right cannot be converted into a
crime”. Miller v US, 230 Fed 486,489

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“No State shall convert a liberty into a privilege, license it, and charge a fee therefore."
Murdock v. Pennsylvania, 319 US 105

“There can be no sanction or penalty imposed upon one because of this exercise of
constitutional rights." Sherer v. Cullen, 481 F 946

“If the State converts a right (liberty) into a privilege, the citizen can ignore the license and
fee and engage in the right (liberty) with impunity." Shuttlesworth v. City of Birmingham
Alabama, 373 US 262, and further,

33 JEFFREY CURETON and Reed O’Connor are required to know that their regulations ONLY apply
to government employees, and further,

34 The Constitution for the United States of America requires that Judges hold office during good
behavior ONLY
“The judges, of both of the supreme and inferior courts, shall hold their offices their offices
during good behavior” Article 3, Section 1, Constitution for the United States of America
[emphasis added], and further,

35 JEFFREY CURETON and Reed O'Connor are required to be neutral and unbiased
“It is a fundamental right of a party to have a neutral and detached judge preside over the
judicial proceedings.” Ward v Village of Monroeville, 409 U.S. 57, 61-62, 93 S.Ct 80, 83, 34 L.Ed.
2d 267 (1972); Tumey v Ohio, 273 U.S. 510, 5209, 47 S. Ct. 437, 440, 71 L.Ed. 749 (1927), and
further,

36 If JEFFREY CURETON and Reed O'Connor cannot be neutral or unbiased they are required to
recuse themselves under their District of Columbia codes 28 USC § 455, and further,

37 JEFFREY CURETON and Reed O’Connor have demonstrated that they intend to be in bad
behavior
“Fraud upon the court is fraud which is directed to the judicial machinery itself and is not
fraud between the parties or fraudulent documents, false statements or perjury. ... It is where
the court or a member is corrupted, or influenced, or influence is attempted, or where the
judge has not performed his judicial function --- i.e., where the impartial functions of the
court have been directly corrupted.“ Bulloch v. United States, 763 F.2d 1115, 1121 (10th Cir.
1985)

by choosing to be a (bought and paid for) Clerk masquerading as a Judge, as described herein, and
thereby engage in honest services fraud in violation of their District of Columbia codes

“For the purposes of this chapter, the term “scheme or artifice to defraud” includes a

scheme or artifice to deprive another of the intangible right of honest services.” 18 USC §
1346 Definition of “Scheme or Artifice to defraud”, and further,

38 JEFFREY CURETON and Reed O'Connor intend to perjure their oaths, and further,

39 JEFFREY CURETON has demonstrated that he intends to subject me to the deprivation of my right
to justice, and my immunity to his filing fee extortion racket in violation of 18 USC § 242, under color
of his regulations, and further,

40 Reed O’Connor has demonstrated that he intends to subject me to the deprivation of my right to

justice, and my immunity to his filing fee extortion racket in violation of 18 USC § 242, under color of
his regulations, and further,

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JEFFREY CURETON and Reed O’Connor have demonstrated that they intend to conspire together
to threaten me, intimidate me, coerce me, and injure me in the free exercise of my right to justice in
violation of their 18 USC § 241, and further,

JEFFREY CURETON and Reed O’Connor have demonstrated that they intend to engage in a
seditious conspiracy

“If two or more persons in any State or Territory, or in any place subject to the jurisdiction of
the United States, conspire to overthrow, put down, or to destroy by force the Government of
the United States, or to levy war against them, or to oppose by force the authority thereof, or
by force to prevent, hinder, or delay the execution of any law of the United States, or by force
to seize, take, or possess any property of the United States contrary to the authority thereof,
they shall each be fined under this title or imprisoned not more than twenty years, or both.”
18 USC § 2384

by using their military despotism to overthrow my common law right to justice, with their military
dictatorship, by imposing their military despotism on me, and further,

JEFFREY CURETON and Reed O’Connor are NOT Judges and everything they do is a fraud and a
nullity

“Ministerial officers are incompetent to receive grants of judicial power from the legislature,
their acts in attempting to exercise such powers are necessarily nullities" Burns v. Sup., Ct.,
SF, 140 Cal. 1

“Where there is no jurisdiction there is no judge; the proceeding is as nothing. Such has
been the law from the days of the Marshalsea, 10 Coke 68; also Bradley v. Fisher, 13 Wall
335,351." Manning v. Ketcham, 58 F.2d 948,

and everything they do is brutum fulmen

“brutum fulmen”: “An empty noise; an empty threat. A judgment void upon its face which is
in legal effect no judgment at all, and by which no rights are divested, and from which none

can be obtained; and neither binds nor bars anyone. Dollert v. Pratt-Hewitt Oil Corporation,

Tex.Civ.Appl, 179 S.W.2d 346, 348. Also, see Corpus Juris Secundum, “Judgments” §§ 499,
512 546, 549. Black’s Law Dictionary, 4th Edition

and their ORDER AND NOTICE OF DEFICIENCY is absolutely VOID and a nullity

“A void judgment is one which, from its inception, was a complete nullity and without legal
effect” Lubben v. Selective Service System Local Bd. No. 27, 453 F.2d 645, 14A.L.R. Fed. 298
(C.A. 1 Mass. 1972). Hobbs v. U.S. Office of Personnel Management, 485 F.Supp. 456 (M.D. Fla.
1980)

“Void judgment is one which has no legal force or effect whatever, it is an absolute nullity,
its invalidity may be asserted by any person whose rights are affected at any time and at any
place and it need not be attacked directly but may be attacked collaterally whenever and
wherever it is interposed.” City of Lufkin v. McVicker, 510 S.W. 2d 141 (Tex. Civ. App. —
Beaumont 1973)

“A void judgment, insofar as it purports to be pronouncement of court, is an absolute
nullity” Thompson v. Thompson, 238 S.W.2d 218 (Tex.Civ.App. — Waco 1951).

“Void order may be attacked, either directly or collaterally, at any time” In re Estate of

Steinfield, 630 N.E.2d 801, certiorari denied, See also Steinfeld v. Hoddick, 513 U.S. 809, (Ill.
1994).

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"Not every action by any judge is in exercise of his judicial function. It is not a judicial
function for a Judge to commit an intentional tort even though the tort occurs in the
Courthouse,” when a judge acts as a Trespasser of the Law, when a judge does not follow
the law, the judge loses subject matter jurisdiction and The Judge's orders are void, of no
legal force or effect! Yates Vs. Village of Hoffman Estates, Illinois, 209 F.Supp. 757 (N.D. Ill.
1962)

44 i have sealed this declaration pursuant to locus sigilli.
“locus sigilli - The place of the seal. Today this phrase is almost always abbreviated "L.S."”
Black’s Law Dictionary 9th Edition, page 1026, and further,

45 the undersigned, i, me, my, or myself, also known as glenn winningham; house of fearn, of original
jurisdiction, and judicial power citizen, by right of blood, do herewith declare, state and say that i
issue this declaration pursuant to your rule 201 of your rules of evidence, with sincere intent in truth,
that i am competent to state the matters set forth herein, and shall so testify in a lawful court, that
the contents are true, correct, complete, certain, admissible as evidence, and reasonable and just,
by me, undersigned addressee, one of “We the People”, and not a corporation, cestui que trust, or
a fiction of any type, and further,

46 signed and sealed in red ink on the land, under penalties with perjury, [28 USC § 1746 (1)],
under the laws of the united States of America, and without the United States, and further,

47 further declarant sayeth not.

48 it has been said, so it is done. sealed A e LS, i [ ell in May, in the

year, two thousand and twenty.

oe Sean Wininingham neces of fearn, sui as
living soul, holder of the office of "the people"

man on the land known as Texas

with full responsibility for my actions

under the laws of yhwh as found in the holy bible
with a postal address of:

General Post-office. Zip Code Exempt

[glenn winningham; house of fearn]

c/o 6340 Lake Worth Boulevard, #437

Fort Worth, Texas [RR 76135]
Non-Domestic, without the UNITED STATES

JURAT
Texas )
) Subscribed, Affirmed, Sealed
Tarrant County )

As a Notary Public, | hereby certify that glenn winningham; house of fearn, who is known to me,
the [Btw day me and after being duly put under oath, he executed the foregoing document on this
the {6*W_ day of May, in the year two thousand and twenty.

Blt, LORETTA HUNTER
Sp atte

cull ets " at < Notary Public, State of Texas
oe eg 2 Comm. Expires 05-16-2023
Notary Public MOSS Notary 1D_ 132010090

 

 

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Glenn Winningham; house of Fearn FEE: $55.00
Non-domestic Mail PAGES: 24
C/O 6340 Lake Worth Blvd., #437 FEE NUMBER: 2013-032373
Fort Worth, Texas republic rm | H
ZIP CODE EXEMPT WA ET
DMM 602.1.3.¢.2,
18 USC § 1342
Corporate Denial Affidavit
Arizona republic )
) Subscribed, Sworn, Sealed

Pinal County )
|, Me, My, or Myself, also known as Glenn Winningham; house of Fearn, having been duly put
under oath, | do affirm, depose, and being cognizant of the penalties for bearing false witness,
do say;

One. All the Facts stated herein are true, correct, complete, are not hearsay, are not
misleading, but are admissible as evidence, and if called to testify, | shall so State, and further,

Two. | have standing capacity to act as to the lawful matters herein, and further,

Three. | have personal, firsthand knowledge, executive and documented knowledge of the facts

stated herein, and further,

Four. | am currently an inhabitant of the land sometimes known as “Texas”, on Turtle island,
and | have no firsthand knowledge of My date or place of birth. Any evidence anywhere about
My birth is hearsay evidence and inadmissible evidence in any court because both of My
parents, and the attending physician involved in My entry into this world, are now dead and |
have not had an opportunity to cross examine them in court to determine the veracity of any
evidence they may have been able to give. Having said that, | do remember that | finished high
school in the year one thousand nine hundred and seventy five, almost forty years ago, therefore
| am well past the age of majority, and further,

Five. lam a Sovereign Living Soul, and a Holder of the Office of “the People’, and a Judicial
Power Citizen by right of blood as described herein, and further,

Six. | am not in the military, and further,

Seven. The use of any statutes, codes, rules, regulations, or court citations, within any
document created by Me, at any time, is only to notice that which is applicable to government
officials, and is not intended, nor shall it be construed, to mean that | have conferred, submitted
to, or entered into any jurisdiction alluded to thereby, and further,

Eight. Equality under the Law is paramount and mandatory by Law, and further,

Nine. The purpose of this document is to establish the fact that | am not a corporation, US

citizen, so-called 14" Amendment citizen, person, or fictitious entity of any kind:

“(a) Entity names may consist of letters of the Roman alphabet, Arabic numerals, and
certain symbols capable of being reproduced on a standard English language typewriter,
or combination thereof.

(b) Only upper case or capitol letters, with no distinction as to face or font, will be
recognized.” Texas Administrative Code § 79.31. Corporations - Characters of Print
Acceptable in Names

 

and any evidence of any such entity is hearsay evidence and a fraud: 7
“An allegation that a corporation is Incorporated shall be taken as true, unless denied by _ }
the affidavit of the adverse party, his agent or attorney, whether such corporation is a }
public or private corporation and however created.” x Cv

{ '

Texas Rules of Civil Procedure, Rule 52

“Failure of any adverse party to deny under oath allegation that party is a norparstiog’? L
dispenses with necessity of proof of that fact.” iP
Galleria Bank v. Southwest Properties, Inc. ( Civ.App. 1973) 498 S.W.2d 5.,

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When the complaint is lodged by the Government for a fine, fee or a tax, all of which are
revenue, they are imposed only on Corporations. See Colonial Pipe Line Co. v. Triagle, 4271
US 100 (1975),

if Respondent is not a Corporation he cannot appear and plead. See West Union Tel. Co. v
Eyser, 2 Colo. 141; Greenwood v. Railroad Co., 123 Mass. 32; Foster v. white Cloud, 32 Mo.
505; Hobich v. Folger, 20 Wall. 1; Boyce v M.E. Church, 43 Md. 359; Folsom v. Star Union Etc.

Freight Line, 54 lowa 490,

“(a) The term “person” shall have the meaning assigned to it in section 3797 of title 26.

(b) The term “sales or use tax” means any tax levied on, with respect to, or measured by,
sales, receipts from sales, purchases, storage, or use of tangible personal property,
except a tax with respect to which the provisions of section 104 of this title are

applicable.
(c) The term “income tax” means any tax levied on, with respect to, or measured by, net

income, gross income, or gross receipts.

(d) The term “State” includes any Territory or possession of the United States.

(e) The term “Federal area” means any lands or premises held or acquired by or for the
use of the United States or any department, establishment, or agency, of the United
States; and any Federal area, or any part thereof, which is located within the exterior
boundaries of any State, shall be deemed to be a Federal area located within such State.”
4 USC § 110 Definitions [emphasis added]

“(12) Taxing jurisdiction.— The term “taxing jurisdiction” means any of the several
States, the District of Columbia, or any territory or possession of the United States, any
municipality, city, county, township, parish, transportation district, or assessment
jurisdiction, or any other political subdivision within the territorial limits of the United
States with the authority to impose a tax, charge, or fee.” 4 USC § 124 Definitions
[emphasis added], and further,

Ten. The US Congress has made it a felony for anyone to claim to be a US citizen when they

know they are not;
“Whoever falsely and willfully represents himself to be a citizen of the United States shall
be fined under this title or imprisoned not more than three years, or both.” 18 USC § 911,

and even though | can prove | am not a ‘whoever’, | do NOT bear false witness, therefore |
cannot say | am a US citizen, and further,

Eleven. AUS citizen does not exist, and is a fraud, under color of law:
“...it might be correctly said that there is no such thing as a citizen of the United States.
-... A citizen of any one of the States of the Union, is held to be, and called a citizen of the

United States, although technically and abstractly there is no such thing." Ex Parte Frank

Knowles, 5 Cal. Rep. 300, [emphasis added]
“The term resident and citizen of the United States is distinguished from a Citizen of one

of the several states, in that the former is a special class of citizen created by Congress."

U.S. v. Anthony 24 Fed. 829 (1873), [emphasis added],

“FOURTEENTH AMENDMENT. The Fourteenth Amendment of the constitution of the
United States. It became a part of the organic law July 28, 1868, and its importance

entities it to special mention. it creates or at least recognizes for the first time a

citizenship of the United States, as distinct from that of the states;”

Black's Law Dictionary 4" Edition, page 785

“Fourteenth Amendment. The Fourteenth Amendment of the Constitution of the United

States, ratified in 1868, creates or at least recognizes for the first time a citizenship of the

United States, as distinct from that of the states;...”

Black's Law Dictionary 5" Edition page 591 [emphasis added]

“Fourteenth Amendment. The Fourteenth Amendment of the Constitution of the United .

States, ratified in 1868, creates or at least recognizes for the first time a citizenship of the ew
ag

 

United States, as distinct from that of the states:” n
Black’s Law Dictionary 6" Edition page 657 [emphasis added], (re

 

a US citizen is a fiction of law

   

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“fiction of law; An assumption or supposition of law that something which is or may be
false is true, or that a state of facts exist which has never really taken place. An
assumption, for purposes of justice, of a fact that does not or may not exist. A rule of
law, which assumes as true,..., something that is false, but not impossible.”

Black's Law Dictionary 6" Edition

“A fiction is a rule of law that assumes something that is or may be false is true.”
Hibbert v Smith, 67 Cal. 547,

and they are using that fiction of law to facilitate the violation of My rights under the color of law,
“Fictitious. Founded on a fiction; having the character of a fiction; pretended;
counterfeit. Feigned, imaginary, not real, false, not genuine, nonexistent. Arbitrarily

invented and set up, to accomplish an ulterior object.”

Black's Law Dictionary 6" Edition, page 624 [emphasis added}

and | can be a national without being a citizen;

“national of the United States. A citizen of the United States or a noncitizen who owes
permanent allegiance to the United States. 8 USCA § 1101(a)(22). — Also termed U.S.
national; U.S. citizen.” Black’s Law Dictionary, 8" Edition, page 3248,

“SUBJECT, NATIONAL: CITIZEN may indicate being a member of a sovereign state,
especially one showing democratic forms and usages, owing it allegiance, sharing in
individual political rights. SUBJECT may imply a state of subjection to a person, such as
a monarch, without much sense of membership in a political community or sharing in
political rights. NATIONAL a more general word, may apply to anyone owing permanent
allegiance to a nation and indicates one belonging to a broad category that includes both
people who are legally citizens or subjects and also people who have not attained such
legal status.” Webster's Third New International Dictionary, MERRIAM-WEBSTER INC.,
Publishers 1986,

and the US Passport application form even talks about a “non-citizen national” in several places;
“| declare under penalty of perjury all of the following; 1) | am a citizen or non-citizen
national of the United States...” US Passport application Form DS-11 12-2010 page 1 of 2
{emphasis added],

and the so-called Fourteenth Amendment does not affect “we the people”

“The (14th) amendment referred to slavery. Consequently, the only persons embraced by
its provisions, and for which Congress was authorized to legislate in the manner were
those then in slavery." Bowling v. Commonwealth, (1867), 65 Kent. Rep. 5, 29.

“No white person born within the limits of the United States and subject to their
jurisdiction, or born without those limits and subsequently naturalized under their laws,
owes his status of citizenship to the recent amendments to the Federal Constitution.”
Van Valkenburg v. Brown, 43 Cal 43

“The rights of (original judicial) Citizens of the States, as such, are not under
consideration in the fourteenth amendment. They stand as they did before the fourteenth
amendment, and are fully guaranteed under other provisions." United States v. Anthony,
24 Fed. Cas. 829, 930 (1873).

“The persons declared to be citizens are, “Alf persons born or naturalized in the United
States and subject to the jurisdiction of thereof.” The evident meaning of these last
words is not merely subject in some respect or degree to the jurisdiction of the United

States, but completely subject...”
EIk v Wilkins, 112 US 94, 101, 102, (1884) [Emphasis added]

"...that there was a citizenship of the United States and a citizenship of the states, which

were distinct from each other, depending upon different characteristics and

circumstances in the individual; that it was only privileges and immunities of the citizens

of the United States that were placed by the amendment under the protection of the 5
Federal Constitution, and that the privileges and immunities of a citizen of a state, \
whatever they might be, were not intended to have any additional protection by the L g 2
paragraph in question, but they must rest for their security and protection where they C

 

have heretofore rested.” Maxwell v Dow, 20 S.C_R. 448, at pg 451; [emphasis added],

 

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“Privileges and immunities clause of the Fourteenth Amendment protects only those
rights peculiar to being a citizen of the federal government; it does not protect those
rights which relate to state citizenship. 14,§ 1."

Jones v Temmer, 829 F.Supp. 1226 (D.Colo. 1993), and further,

Twelve. And My right to pursue happiness, as affirmed by the positive law embodied in the
Declaration of Independence (1776), is My right to get compensation for labor,
"Among these unalienable rights, as proclaimed in the Declaration of Independence is
the right of men to pursue their happiness, by which is meant, the right any lawful
business or vocation, in any manner not inconsistent with the equal rights of others,
which may increase their prosperity or develop their faculties, so as to give them their

highest enjoyment...It has been well said that, the property which every man has Is his
own labor, as it is the original foundation of all other property so It is the most sacred

and inviolable... Butchers’ Union Co. v. Crescent City Co., 111 U.S. 746 (1883)

“The property which every man has in his own labor, as it is the original foundation of all
other property, so it is the most sacred and inviolable. The patrimony of the poor man
lies in the strength and dexterity of his own hands, and to hinder his employing this
strength and dexterity in what manner he thinks proper, without injury to his neighbor, is
a plain violation of this most sacred property.”

Butchers Union Co. vs. Crescent City Co. 111 U_S. 764.

“The right to follow any of the common occupations of life is an inalienable right. It was
formulated as such under the phrase ‘pursuit of happiness’ in the Declaration of
Independence.” Aligeyer vs. State of Louisiana, 165 U.S. 578, 17 S.Ct. 427, 41 L. Ed. 832
(1897) Hotel et al. vs. Longley, et al. 160 S.W. 2d. 124, 127 (1942)

“Men are endowed by their Creator with certain unalienable rights,-'life, liberty, and the
pursuit of happiness;' and to ‘secure,’ not grant or create, these rights, governments are
instituted. That property which a man has honestly acquired he retains full control of. . .”
Budd v. People of State of New York, 143 U.S. 517 (1892)

“The right of the citizen to travel upon the public highways and to transport his property
thereon, either by carriage or by automobile, Is not a mere privilege which a city may
prohibit or permit at will, but a common law right which he has under the right to life,
liberty, and the pursuit of happiness." Thompson v. Smith, 154 SE 579

and My labor is NOT an article of commerce as affirmed by the color of law United States Code:
“The labor of a human being is not a commodity or an article of commerce” 15 USC § 17,
and further,

Thirteen. Changes that are few, and simple, and independent can be considered Amendments:
"...includes only the power to amend any section in such a manner that such
Amendment, if approved, would be complete within itself, relate to one subject and not
substantially affect any other section of Articles of the Constitution or require further
Amendments to the Constitution to accomplish its purpose.”

Adams v Gunter, 238 So.2d 824,

and a revision affects many parts of a document:

"... the wide and diverse range of subject matters proposed to be voted upon, and the
revisional effect which it would necessarily have on our basic plan of government. The
Proposal is offered as a single amendment but it obviously is multifarious. It does not
give the people an opportunity to express approval or disapproval severally as to each
major change suggested. . . .“ McFadden v Jordan, 196 P.2d 787 [emphasis added],

therefore the so-called Fourteenth Amendment is actually a revision because it changes many
things in the Constitution, including property rights, citizenship, taxes, apportionment, the debt,
and more,
i. “It violates the Preamble, which defines the whole intent of all powers granted to
Congress, by introducing a foreign member into the sovereign body.
ii. Itis an “ex post facto law" punishing Southerners in many ways for acts not °
necessarily iltegal at the time of their commission. ; \. “
iii. It is a “bill of attainder” (In its lesser form of a "bill of pains and penalties") depriving 4 Ue
southern slave holders of property without triai. Li
iv. It deprived Southerners of property by unreasonable seizure and without just .
compensation, bringing Congress beyond limitations set out by the Fourth and Fifth /
Articles in Amendment (Bill of Rights).

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Vv.

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viii

It lays prohibitions upon the States beyond those known to the original Constitution of
the United States and makes inroads upon the Constitutions of the several States,
encroaching upon sovereignty belonging to the people of the several States which is
prohibited by the Tenth Article in Amendment (Bill of Rights ).

i. It created purely legislative "Tribunals" without respect to the separation of powers.

It extended Congress’ “martial law power" allowing the emission of "bills of credit"

[legal tender] and etc..

. The list is too long to completely enumerate. (Refer back within this exposé to list more
Constitutional violations)”

THE NON-RATIFICATION OF THE FOURTEENTH AMENDMENT, in the case (Dyett v. Turner,

439 P2d 266 @ 269, 20 U2d 403 [1968]), Judge AH Ellett of the Utah Supreme Court

and Congress may ONLY amend the Constitution, does not have the authority to revise the
constitution,

“The Congress, whenever two thirds of both Houses shall deem it necessary, shall
propose Amendments to this Constitution, or, on the Application of the Legislatures of
two thirds of the several States, shall cali a Convention for proposing Amendments,
which, in either Case, shall be valid to all intents and Purposes, as Part of this
Constitution, when ratified by the Legislatures of three fourths of the several States, or
by Conventions in three fourths thereof, as the one or the other Mode of Ratification may
be proposed by the Congress; Provided that no Amendment which may be made prior to
the Year One thousand eight hundred and eight shall in any Manner affect the first and
fourth Clauses in the Ninth Section of the first Article; and that no State, without its
Consent, shall be deprived of its equal Suffrage in the Senate.”

Constitution for the United States of America, Article V

 

therefore the so-called Fourteenth Amendment is a fraud and a nullity, and the US citizen that it
creates, is also a fraud, and a nullity;

“An unconstitutional act is not law; it confers no rights; it imposes no duties; affords no
protection; it creates no office; it is in legal contemplation, as inoperative as though it
had never been passed.” Norton vs Shelby County, 118 U.S. 425, p. 442

“absolute nullity. Civil law. 1. An act that is void because it is against public policy, law,
or order. + The nullity is noncurable. It may be invoked by any party or by the court. See
La. Civ. Code arts 7, 2030. 2. The state of such a nullity.” Black’s Law Dictionary 8" Edition,
p 3391, and further,

Fourteen. The so-called Fourteenth Amendment was NOT properly ratified, and is therefore a

fraud and a nullity;

“The dissenting opinion asserts that "The Fourteenth Amendment is a part of the
Constitution of the United States." While this same assertion has been made by The
United States Supreme Court, that court has never held that the amendment was legally

adopted. | cannot believe that any court, in full possession of its faculties could honestly
hold that the amendment was properly approved and adopted.”

State v Phillips 540 Pac. Rep.2d 936, [emphasis added}, and further,

Fifteen. | am NOT a “person” as far as a statute is concerned because a "person" is:

a) “a variety of entities other than human beings.” Church of Scientology v U.S.
Department of Justice, 612 F2d 417 (1979) at pg 418, and,

b) ”...foreigners, not citizens...." United States v Otherson, 480 F. Supp. 1369 (1979) at pg
1373, and,

c) “Person: —term may include labor organizations, partnerships, associations,
corporations, legal representatives, trustees, trustees in bankruptcy, or receivers...
Scope and delineation of term is necessary for determining those to whom Fourteenth
Amendment of Constitution affords protection since this Amendment expressly applies
to “person.” Black's Law Dictionary, Sixth Edition, page 1142 [emphasis added]

and a sovereign is not a "person" in a legal sense and as far as a statute is concerned:

a)" ‘in common usage, the term ‘person’ does not include the sovereign, [and] statutes
employing the [word] are normally construed to exclude it.’ Wilson v Omaha Tribe, 442
US653 667, 61 L Ed 2d 153, 99 S Ct 2529 (1979) (quoting United States v Cooper Corp. 31 4 ,
US 600, 604, 85 L Ed 1071, 61 S Ct 742 (1941). See also United States v Mine Workers, 3 ‘
US 258, 275, 91 L Ed 884, 67 S Ct 677 (1947)"

Will v Michigan State Police, 491 US 58, 105 L. Ed. 2d 45, 109 S.Ct. 2304, and,

 

 

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b) “a sovereign is not a person in a legal sense” In re Fox, 52 N. Y. 535, 11 Am. Rep. 751;
U.S. v. Fox, 94 U.S. 315, 24 L. Ed. 192, and,

and a US citizen is a “person”:

“All persons born or naturalized in the United States, and subject to the jurisdiction
thereof, are citizens of the United States...” (So-called) Fourteenth Amendment, Article 1
[emphasis added], and further,

Sixteen. Any evidence of a US citizen, so-called Fourteenth Amendment citizen, or fictitious entity
of any kind, is hearsay evidence and a fraud;
“Once a fraud, always a fraud.” 13 Vin. Abr. 539.

“Things invalid from the beginning cannot be made valid by subsequent act.”
Trayner, Max. 482. Maxims of Law, Black’s Law Dictionary 9" Edition, page 1862

“A thing void in the beginning does not become valid by lapse of time.”
15. &R.58. Maxims of Law, Black’s Law Dictionary 9" Edition, page 1866

Time cannot render valid an act void In its origin. Dig. 50, 17, 29° Broom, Max. 178, Maxims
of Law, Black's Law Dictionary 9" Edition, page 1862, and further,

Seventeen. All ZIP CODES are designations for addresses in federal regions:

“As we have said, the Federal Personal Income Tax is Collected under a Military Venue
within a Martial-Law jurisdiction. Federal Reserve Notes are Military Scrip circulated
within a Military Venue. The problem is the people don't understand how the entire
United States is covered by a Military Venue.... Under the Social Security Act, there was
brought into existence Ten Federal Regional Areas. These ten federal regional areas are
the same as a military base. It is not unconstitutional to circulate "military scrip” on a
military base as the base Is considered to be a military venue. “Military scrip” cannot
circulate in the civil jurisdiction of the several States. To get around this Constitutional
bar, the Congress (via the Social Security Act), created Ten Military Venues, called
Federal Regional Areas. The problem the Congress realized was, while Congress could
restructure the Government agencies into these Federal Regional Areas, the people
could not be identi to_be within this Military Venue but by their own consent. The
solution was to create another Military Venue which would trick the people to voluntarily
accept recognition that they are within a Military Venue. Congress solved this problem by
creating the ZIP CODE. The "zip code” divides the United States into Ten Military Venues
called "National Areas." When a Citizen receives mail from an agency of the federal
government (such as the I.R.S.), in the return address of the federal agency Is the district
within the regional area the letter is sent from, and on the address of the "Citizen" it was
sent to is the national area [ZiP] in which he received the correspondence from the I.R.S..
In other words, the correspondence was sent from one of the federal regional areas
{military venue] to one of the National Areas [another military venue]. "Taxing Districts”
are established within one of the Federal Regional Areas, which places the collection of
taxes under a martial law jurisdiction.” Dyett v Turner 439 P2d 266 @ 269, 20 U2d 403
[1968] The Non-Ratification of the Fourteenth Amendment by Assistant Director A.H. Ellett,
Utah Supreme Court [Emphasis added],

“Sec. 15. As used in this Act the term “United States” means the Government of the
United States...the term “currency of the United Stat United States” means currency which is nee
tender in the United States, and includes United States notes,...-Federal Reserve Notes..
Gold Reserve Act of 1934, 48 Stat. 337, and further,

a. Under the (color of law) United States Postal Service Domestic Mail Manual! ZIP CODES are
not mandatory;
“4, ZIP Codes are required on Express Mail, Pre-sorted and automation price First
Class Mail, periodicals mail, Standard Mail, Package Services mail (except single
piece price parcel post), all maii sent to military addresses within the United States
and to APO and FPO addresses, all official mail (penalty mail), all business reply mail,
and all merchandise return service mail. p
2. Unless required above, ZIP Codes may be omitted from single piece price First
Ciass Mail (including priority mail), and pieces bearing a simplified address.” mM ZL, \
602.1.3 Addressing Elements, 7.4 Go

b. and because it is a Domestic Mail Manual, it is intended for use in United States ONLY, ard
NOT in The United States of America, as differentiated in 28 USC § 1746, which says;

 

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“(4) If executed without the United States: “I declare (or certify, verify, or state) under
penalty of perjury under the laws of the United States of America that the foregoing is
true and correct. Executed on (date).(Signature)”.

(2) If executed within the United States, its territories, possessions, or
commonwealths: “I declare (or certify, verify, or state) under penalty of perjury that
the foregoing is true and correct. Executed on (date).(Signature)”.” 28 USC § 1746
{emphasis added]

 

 

c. and because it is an internal regulation for the United States Postal Service, which is an
unconstitutional agency;
“The governments are but trustees acting under derived authority and have no power
to delegate what is not delegated to them. But the people, as the original fountain

might take away what they have delegated and entrust to whom they please. ... The
sovereignty in every state resides in the people of the state and they may alter and

change their form of government at their own pleasure.”
Luther v. Borden, 48 US 1, 12 Led 587

“A delegate cannot delegate; an agent cannot delegate his functions to a subagent

without the knowledge or consent of the principal; the person to whom an office or
duty is delegated cannot lawfully devolve the duty on another, unless he be expressly
authorized sotodo.” .

9 Coke, 77: Broom, Max. 840; 2 Kent, Comm. 633; 2 Steph. Comm. 119 [emphasis added}

“A delegated power cannot be again delegated.”
2 Inst. 597; Black's, 2d. 347; 2 Bouv. Inst. n. 1300

“A deputy cannot have (or appoint) a deputy.”
Story, Ag. 8.13; 9 Coke, 77; 2 Bouv. Inst. n. 1936

d. and the Constitution for the United States of America talks about Post Offices, and post
Roads where it says;
“To establish Post Offices and post Roads; Constitution for the United States of America,
Article 1, Section 8, Clause 7

e. but it says nothing about their corporate agency called “United States Postal Service’,
therefore the United States Postal Service is an unconstitutional agency, and all of their
codes, rules, and regulations are color of law as described herein, therefore, it is incorrect to
send mail to a postal address on the land of Texas, with a ZIP CODE, and it is a fraud, and
pursuant to 18 USC § 1342, My proper name is Glenn Winningham: house of Fearn and My
proper postal address is;

Non Domestic Mail

C/O 6340 Lake Worth Bivd., #437

Fort Worth, Texas

Zip Code Exempt

(DMM 602.1.3.e.2, 18 USC § 1342) Ezekiel 33:1-10

f. and if it is not shown exactly like this, in any communication with Me, it is further agreed by
anyone who uses any other postal address, that they intend to be quilty of mail fraud,
“Whoever, for the purpose of conducting, promoting, or carrying on by means of the
Postal Service, any scheme or device mentioned in section 1341 of this title _ any
other unlawful business, uses or assumes, or requests to be addressed by, any
fictitious, false, or assumed title, name, or address or name other than his own proper
name, or takes or receives from any post office or authorized depository of mail
matter, any letter, postal card, package, or other mail matter addressed to any such
fictitious, false, or assumed title, name, or address, or name other than his own
proper name, shail be fined under this title or imprisoned not more than five years, or
both.” 18 USC § 1342 [Emphasis added]

 

 

and | shall not accept anything incorrectly addressed, with a ZIP CODE, or spelled in any
way NOT as indicated herein,

g. and any government official who sends their mail to Me with an improper name or postal o (
address as described herein, is suborning fraud, and intends to be quilty of mail fraud, and x vv
is also fabricating evidence in violation of Texas Penal Code Section 37.09. Tampering wi ly.

 

”

 

or Fabricating Physical Evidence, as described herein, and further, i LV
Eighteen. United States is an agency of the United States of America;
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“The following definitions apply unless the statute or context in which the word or
phrase is used requires a different definition:

(7) "State," when referring to a part of the United States, includes any state, district,
commonwealth, territory, and insular possession of the United States and any area
subject to the legislative authority of the United States of America.

(3) “United States” includes a department, bureau, or other agency of the United States ©
of America.” Texas Government Code Section 311.005 General Definitions [emphasis added]

“We the People of the United States, in Order to form a more perfect Union, establish
Justice, insure domestic Tranquility, provide for the common defence, promote the
general Welfare, and secure the Blessings of Liberty to ourselves and our Posterity, do

ordain and establish this Constitution for the United States of America.” — Preamble,

Constitution for the United States of America

“CONSTITUTION OF THE UNITED STATES OF AMERICA. The fundamental law of the
United States. 2. It was framed by a convention of the representatives of the people, who
met at Philadelphia, and finally adopted it on the 17th day of September, 1787. It became
the law of the land on the first Wednesday in March, 1789. 5 Wheat. 420.” Bouvier's Law
Dictionary 1856 Edition, page 295 [emphasis added]

and the Constitution for the United States of America is the supreme law of the land;
“This Constitution, and the Laws of the United States which shall be made in Pursuance

thereof; and all Treaties made, or which shall be made, under the Authority of the United
States, shall be the supreme Law of the Land; and the Judges in every State shall be
bound thereby, any Thing in the Constitution or Laws of any State to the Contrary

notwithstanding.” Constitution for the United States of America, Article 6, Clause 2

and United States is a federal corporation that was created by Congress in 1871, therefore it is
NOT the United States that is talked about in the Constitution for the United States of America:
“As used in this chapter:

(14) “State” means any of the several States, the District of Columbia, the
Commonwealth of Puerto Rico, the Commonwealth of the Northern Marianas, or any
territory or possession of the United States.

(15) “United States” means—

(A) a Federal corporation;
(B) an agency, department, commission, board, or other entity of the United States; or

(C) an instrumentality of the United States.” 28 USC § 3002 Definitions [emphasis added]

therefore the United States is an unconstitutional agency of the United States of America, and
all agencies of the United States, that are not specifically mentioned in the Constitution for the
United States of America, including the State of Texas are also unconstitutional agencies, and
they have no authority over “we the people”, and anything done by the United States or any
agency of the United States, to Me, is under color of office, and ultra vires,

“Ultra vires. An act performed without any authority to act on subject. Hasiund v. City of
Seattle, 86 Wash.2d 607, 547 P.2d 1221, 1230, Acts beyond the scope of the powers of a
corporation, as defined by its charter or laws of state of incorporation. State ex rel. v.
Holston Trust Co., 168 Tenn. 646, 79 S.W.2d 1012, 1016. The term has a broad application
and includes not only acts prohibited by the charter, but acts which are in excess of
powers granted and not prohibited, and generally applied either when a corporation has
no power whatever to do an act, or when the corporation has the power but exercises it
irregularly. People ex rel. Barrett v. Bank of Peoria, 295 IIl.App. 543, 15 N.E.2d 333, 335,
Act is ultra vires when corporation is without authority to perform it under any
circumstances or for any purpose. By doctrine of ultra vires a contract made by a
corporation beyond the scope of its corporate powers is unlawful. Community Federal
Sav. & Loan Ass'n of Independence, Mo. v. Fields, C.C.A. Mo., 128 F.2d 705, 708. Ultra
vires act of municipality is one which is beyond powers conferred upon it by law. Charles
v. Town of Jeanerette, Inc., La.App., 234 So.2d 794, 798." Black’s Law Dictionary 6" Edition
page 1522, [emphasis added] and further,

 

due process; Rodriquez vs US Secretary of Labor, Donovan, 769 F2d 1344, as well as,

“[4] It is well settled that “the Code cannot prevail over the Statutes at Large, when the
two are inconsistent.” Stephan v. United States, 319 U.S. 423, 63 S.Ct. 1135, 1137, 80 j
L.Ed. 1490; Royer's Inc. v. United States, 3 Cir., 265 F.2d 615. The provisions of the Co e}
are merely prima facie evidence of the law. 1 U.S.C. § 204 (a).” /
American Export Lines Inc. v. United States, 290 F.2d 925, at 929 (July 19, 1961)

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Nineteen. All codes, rules and regulations are “color of law’ and unconstitutional, and lacking in ( 7
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“Certain titles of the Code have been enacted into positive law, and pursuant to section
204 of title 1 of the Code, the text of those titles is legal evidence of the law contained in
those titles. The other titles of the Code are prima facie evidence of the laws contained in
those titles. The following titles of the Code have been enacted into positive iaw: 1, 3, 4,
5, 9, 10, 11, 13, 14, 17, 18, 23, 28, 31, 32, 35, 36, 37, 38, 39, 40, 41, 44, 46, 49 and 51.”

US House of Representatives, Office of Law Revision Counsel website [emphasis added]

““orima facia" At first sight; on the first appearance; on the face of it; so far as can be
judged from the first disclosure; presumably; a fact presumed to be true unless
disproved by some evidence to the contrary. State ex rel. Herbert v. Whims, 68 Ohio App.
39, 38 N.E.2d 596, 599, 22 0.0. 110.”

Black's Law Dictionary 5th Edition page 1071. [emphasis added]

which means that the following titles of the United States Code are non-positive Law;

 

Title Nomenclature Title Nomenciature

2 The Congress 6 Domestic Security

7 Agriculture 8 Aliens and Nationality

42 Banks and Banking 15 Trade and Commerce

16 Conservation 19 Customs

20 Education 21 Food and Drugs

22 Foreign Relations 24 Hospitals

25 Indians 26 Internal Revenue

27 Intoxicating Liquors 29 Labor

30 Mineral Lands and Mining 33 Navigation and Navigable Waters
42 The Public Health and Welfare 43 Public Lands

45 Railroads 47 Telegraphs, Telephones and Radios
48 Territories and Insular Possessions 50 War and Nationa! Defense

51 National and Commercial Space

and because positive law is law that is properly enacted by proper authority

“Positive Law. Law actually and specifically adopted by proper authority for the
government or an organized jural society.” Black's Law Dictionary, 5" Edition [Emphasis
added]

therefore non-positive law is law that was NOT enacted with proper authority and all of the

above listed titles of the United States Code were not enacted with proper authority, like the
Texas Code of Criminal Procedure Article 54.03 Emergency Clause is proof that the Texas
Cade of Criminal Procedure is color of law, because it was NOT read on 3 separate days, as
required;

“The fact that the laws relating to criminal procedure in this state have not been
completely revised and re-codified in more than a century past and the further fact that
the administration of justice, in the field of criminal law, has undergone changes, through
judicial construction and interpretation of constitutional provisions, which have been, in
certain instances, modified or nullified, as the case may be, necessitates important
changes requiring the revision or modernization of the laws relating to criminal
procedure, and the further fact that it is desirous and desirable to strengthen, and to
conform, various provisions in such laws to current interpretation and application,
emphasizes the importance of this legislation and all of which, together with the crowded

condition of the calendar in both Houses, create an emergency and an imperative public
necessity that the Constitutional Rule requiring bills to be read on three several days be

suspended, and said Rule is hereby suspended, and that this Act shall take effect and be
in force and effect from and after 12 o'clock Meridian on the ist day of January, Anno
Domini, 1966, and it is so enacted.” Texas Code of Criminal Procedure Article 54.03
Emergency Clause [emphasis added]

therefore all non-positive law statutes (improperly enacted statutes) are color of law. a fraud,
and unconstitutional,

“An unconstitutional act is not law; it confers no rights; it imposes no duties; affords no
protection; it creates no office; it is in legal contemplation, as inoperative as though it
had never been passed.” Norton vs Shelby County, 118 U.S. 425, p. 442, \

and claiming necessity because of emergency is not a good excuse as described herein, and 4
this document is designed to provide evidence that their non-positive law prima facia codes apé (j CY
color of law, are a fraud, created by the US Congress whores in support of their thieving U
bankster buddies, and mean absolutely nothing, and do NOT exist; i \
“absolute nullity. Civil law. 1. An act that is void because it is against public policy, law, |

or order. » The nullity is noncurable. It may be invoked by any party or by the court. See

   
  

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La. Civ. Code arts 7, 2030. 2. The state of such a nullity.” Black's Law Dictionary 8” Edition,
p 3391,

and the United States is a conquered and ensiaved nation
“There are two ways to conquer and enslave a nation. One is by the sword. The other is

by debt.” John Adams 1826

because the US Congress whores sold themselves to the bankster thieves, and it is bankrupt,
and enslavec,

“It is an established fact that the United States Federal Government has been dissolved
by the Emergency Banking Act, March 9, 1933, 48 stat. 1, Public Law 89-719; declared by
President Roosevelt, being bankrupt and insolvent, H.J.R. 192, 73rd Congress in session

June 5, 1933 - Joint Resolution To Suspend The Gold Standard and Abrogate The Gold
Clause dissolved the Sovereign Authority of the United States and the official capacities

of all United States Governmental Offices, Officers, and Departments and is further

evidence that the United States Federal Government exists today in name only.”

United States Congressional Record, March 17, 1993 Vol. 33 [Emphasis added]

and it has been bankrupt three times and we are now on number four as evidenced by the
webpage printout from Dunn and Bradstreet website, a true copy of which is attached hereto, all
of which is incorporated herein by reference in its entirety, and the creditors always become the
owners in any bankruptcy:

“Under the US Airways proposal sent in November, AMR creditors would own 70 percent
and US Airways shareholders 30 percent of the merged airline, which could be valued at
around $6.5 billion, sources told Reuters on Friday.” AMR Creditors Prefer all Stock Merger
with US Airways: sources, by Soyoung Kim, Reuters, Wednesday 12 December 2012 8:38 PM
EST, taken from Yahoo Finance [emphasis added]

and it is “civilly dead” and therefore incapable of making positive law,
“Extra legem positus est civiliter mortuus. One out of the pale of the law, (an outlaw,) is
civilly dead.” Maxims of Law, Bouvier’s Law dictionary, 1856 Edition,

because ONLY gold or silver coin is lawful money at common law,
“At common law only gold and silver were a legal tender. (2 Inst. 577.)” McClarin v. Nesbit,

2 Nott & McC. (11 S.C.L.) 519 (1820),

and because United States and its agencies and instrumentalities have no lawful money, which
includes the State of Texas, and the State of Arizona, and every other state, as well as the fact
that they are all controlled and operated by BAR members who are all foreign agents of the
Crown;

“INNS OF COURT - These are certain private unincorporated associations, in the nature
of collegiate houses, located in London, and invested with the exclusive privilege of
calling men to the bar;..." Black's Law Dictionary, 5th Edition page 709. [emphasis added]

and there is an American inns of Court, and there are chapters in every state in America, in
violation of the true Article Thirteen in Amendment which says;

"If any citizen of the United States shail accept, claim, receive, or retain any title of
nobility or honor, or shall, without the consent of congress, accept and retain any
present, pension, office, or emolument of any kind whatever, from any emperor, king,
prince, or foreign power, such person shall cease to be a citizen of the United States, and
shall be incapable of holding any office of trust or profit under them, or either of them."
[Emphasis added]

as taken from a certified copy of an 1819 Constitution for the United States of America, taken
from Virginia Statutes, a true copy of which is attached to the Affidavit of Criminal Complaint
04/14/07 which is recorded with the Pinal County Recorder at Fee Number 2007-059087, and
the Affidavit of Criminal Complaint 06/14/07 which is recorded with the Pinal County Recorder at
Fee Number 2007-073069, ail of both of which are incorporated herein by reference in their
entirety, and because all BAR members receive a Title of Nobility and an honor from a foreign

 

power, based in London, England; -
“TITLE, persons. Titles are distinctions by which a person is known. 3. The constitution (

of the United States forbids the tyrant by the United States, or any state of any title of ;
nobility. (q. v.)...judges and members of congress that of honorable; and members of the [ ft

bar and justices of the peace are called esquires. Cooper's, Justinian, 416'; .
Brackenridge’s Law Miscell. Index.” 18
Bouvier's Law Dictionary 1856 Edition, [emphasis added], | VY

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“NOBILITAS EST DUPLEX, SUPERIOR ET INFERIOR, 2 inst. 583. There are two sorts of

nobility, the higher and the lower.

Black's Law Dictionary 4" Edition, page 1198 [emphasis added],

“ESQUIRE. A title applied by courtesy to officers of almost every description, to
members of the bar, and others. 2. In England, itis a title next above that of a gentleman,
and below a knight.” Bouvier’s Law Dictionary 1856 Edition, [emphasis added]

therefore, nothing they say or do is lawful, or de jure,
“it never became a law and was as much a nullity as if it had been the act or declaration
of an unauthorized assemblage of individuals." Ryan v. Lynch, 68 Ill. 160 [emphasis added}

and they are incapable of enacting positive law, and they operate completely under the color of
law, and they are nothing but criminals, operating in conspiracy with their thieving bankster
owners, and further,

Twenty. Everything that is color of law is a fraud;
"Color" means "An appearance, semblance, or simulacrum, as distinguished from that
which is real. A prima facia or apparent right. Hence, a deceptive appearance, a plausible,
assumed exterior, concealing a tack of reality; a disquise or pretext. See also colorable."
Black's Law Dictionary, 5th Edition, on page 240. [emphasis added]

"Colorable" means "That which is in appearance only, and not in reality, what it purports
to be, hence counterfeit feigned, having the appearance of truth." Windle v. Flinn, 196 Or.
654, 251 P.2d 136, 146. [emphasis added]

"Color of Law" means "The appearance or semblance, without the substance, of legal
right. Misuse of power, possessed by virtue of state law and made possible only because
wrongdoer is clothed with authority of state is action taken under ‘color of law." Atkins v.
Lanning. D.C.OkI., 415 F. Supp. 186, 188, [emphasis added]

therefore, everything that is color of law and all ZIP CODES and the US citizen are all frauds,
and further,

Twenty-one. The act of fraud and all of the consequences never legally happened;
“Ey dolo malo non oritur action. Out of fraud no action arises. Cowper, 343; Broom’s
Max. 349.” Bouvier's Maxims of Law, 1856,

and any act by any government official to conceal the fraud becomes an act of fraud;
“fraus est celare fraudem. It is a fraud to conceal a fraud. 1 Vern. 270.”
Bouvier's Maxims of Law 1856

and fraud is inexcusable and unpardonabie;
“Fraus et dolus nemini patrocianari debent. Fraud and deceit should excuse no man. 3
Co. 78.” Bouvier's Maxims of Law 1856

and any fraud amounts to injustice;
“Fraus et jus nunquam cohabitant. Fraud and justice never dwell together.”
Maxims of Law, Black's Law Dictionary, 8" Edition, page 1832

“Quod alias bonum et justum est, si per vim vei fraudem petatur, malum et injustum
efficitur. What is otherwise good and just, if sought by force or fraud, becomes bad and
unjust. 3 Co. 78.” Bouvier’s Maxims of Law, 1856, and further,

Twenty-two. My ancestors were among those whose words created the republic of the United
States of America,
“When men entered into a State they yielded a part of their absolute rights, or natural
liberty, for political or civil liberty, which is no other than natural liberty restrained by
human laws, so far as is necessary and expedient for the general advantage of the
public. The rights of enjoying and defending life and liberty, of acquiring and protectin -
reputation and pro - and, in general, of attaining objects suitable to their condition
without injury to another, are the rights of a citizen; and all men by nature have them.”
Douglass, Adm'r., v. Stephens, Delaware Chancery, Vol. 1, Page 470 (1821) [Emphasis added] [

 

 

 

 

and My ancestors were in America long before the War of Independence, as found in the
Statement of Original Status and the pedigree charts which are attached hereto, all of which ar
incorporated herein by reference in their entirety,

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“The term, citizens of the United States, must be understood to intend those who were
citizens of a State, as such, after the Union had commenced, and the several States had
assumed their sovereignties. Before this period there was no citizens of the United
States...” Manchester v. Boston, Massachusetts Reports, Vol. 16, Page 235 (1819),

“The state citizen is immune from any and all government attacks and procedure, absent

contract." see, Dred Scott vs. Sanford, 60 U.S. (19 How.) 393 or as the Supreme Court has
stated clearly, “...every man is independent of all laws, except those prescribed by
nature, He is not bound by any institutions formed by his fellowmen without his
consent.” CRUDEN vs. NEALE, 2 N.C. 338 2 S.E. 70, [emphasis added]

“The rights of the individuals are restricted only to the extent that they have been
voluntarily surrendered by the citizenship to the agencies of government.”
City of Dallas v Mitchell, 245 S.W. 944

“State citizens are the only ones living under free government, whose rights are

incapable of impairment by legislation or judicial decision."

Twining v. New Jersey, 211 U.S. 97, 1908 [emphasis added]

"State Citizenship is a vested substantial property right, and the State has no power to
divest or impair these rights." Favot v. Kingsbury, (1929) 98 Cal. App. 284, 276 P. 1083,

"The sovereignty of a state does not reside in the persons who fill the different
departments of its government, but in the People, from whom the government emanated;
and they may change it at their discretion. Sovereignty, then in this country, abides with
the constituency, and not with the agent; and this remark is true, both in reference to the
federal and state government.“ Spooner v. McConnell, 22 F 939 @ 943

and because | am a State Citizen, | am also a judicial power Citizen;
“The judicial power is the power to hear those matters which affect life, liberty or
property of the Citizens of the State.” Sapulpa v Land, 101 Okla. 22, 223 Pac. 640, 35 A.L.R.

872,

“The very meaning of ‘sovereignty’ is that the decree of the sovereign makes law."
American Banana Co. v. United Fruit Co., 29 S.Ct. 511, 513, 213 U.S. 347, 53 L.Ed. 826, 19
Ann.Cas. 1047.

COURT. The person and sult of the sovereign; the place where the sovereign sojourns
with his regal retinue, wherever that may be. Black's Law Dictionary, 5th Edition, page 318.

COURT. An agency of the sovereign created by it directly or indirectly under its authority,
consisting of one or more officers, established and maintained for the purpose of
hearing and determining issues of law and fact regarding legal rights and alleged
viclations thereof, and of applying the sanctions of the law, authorized to exercise its
powers in the course of law at times and places previously determined by lawful
authority. Isbill v. Stovall, Tex.Civ.App., 92 S.W.2d 1087, 1070; Black's Law Dictionary, 4th
Edition, page 425

and, because | am a judicial power Citizen, | make the law, and | am the law, and | have the

power to pass sentence, and My decision is not subject to appeal or modification in any way,
except by a common law jury of My peers, and all other courts have to recognize it, because
they exist under My authority, and My court is superior to their court, and further,

statement_of Original Status

Twenty-three, 1, Glenn Winningham; house of Fearn, a Free, White, Christian male, have no
firsthand knowledge of when or where | was given birth, and any evidence of any such birth is.
hearsay evidence and inadmissible as evidence in a court of law, except to say that | am weil
past the age of majority, because | completed high school in the year one thousand nine
hundred and seventy-five (almost forty years ago); and, ,

ad

“7
a. |, Glenn Winningham; house of Fearn, was given birth by Hazel Lorene; house of Lay Qe
Winningham, a Free, White, Christian female, an Oklahoma State Citizen, who was natural/ oe:

given birth on the twenty-sixth day of November, in the year one thousand nine hundred a

   

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twenty-two, in Jefferson County, in Oklahoma State, a State of the union States of America:
and,

b. Hazel Lorene; house of Winningham, Glenn Winningham’s mother, was sired by Quitman
Elbert; house of Winningham, a Free, White, Christian male, an Oklahoma State Citizen,
who was naturally given birth on the seventeenth day of March, in the year one thousand
eight hundred and ei -six, in Overton County, in Tennessee State, a State of the union
States of America; and,

c. Hazel Lorene; house of Winningham, Glenn Winningham’s mother, was given birth by Ruby
May; house of Atkins, a Free, White, Christian female, an Oklahoma State Citizen, was
naturaily given birth on the third day of May, in the year one thousand eight hundred and
ninety, in Mexia town, Limestone County, in Texas State, a State of the union States of
America: and,

d. Quitman Elbert; house of Winningham and Ruby May; house of Atkins were one, joined in
the State of holy wedlock at the time Hazel Lorene was naturally given birth to them: and,

e. Quitman Elbert; house of Winningham, Glenn Winningham’'s grandfather, was sired by
James Carlton; house of Winningham, a Free, White, Christian male, a Tennessee State
Citizen, who was naturally given birth on the twenty-eighth day of April, in the year one
thousand eight hundred and fifty-six, in Overton County, in the Tennessee State, a State of
the union States of America; and,

f. Quitman Elbert; house of Winningham, Glenn Winningham's grandfather, was given birth by
Clementine; house of McDonald, a Free, White, Christian female, a Tennessee State
Citizen, who was naturally given birth on the twenty-second day of September, in the year
one thousand eight hundred and sixty-two, in Overton County, in Tennessee State, a State

of the union States of America; and,

g. James Carlton, house of Winningham and Clementine; house of McDonald were one, joined
in the State of holy wedlock at the time Quitman Elbert was naturally given birth to them:
and,

h. James Carlton; house of Winningham, Glenn Winningham's great grandfather, was sired by
John (Jack) R.; house of Winningham, a Free, White, Christian male, was naturally given
birth on the twenty-second day of December, in the year one thousand eight hundred and
thirty-eight, in Overton County, in Tennessee State, a State of the union States of America:
and

i. James Carlton; house of Winningham, Glenn Winningham's great grandfather, was given
birth by Evelene; house of Gray, a Free, White, Christian female, who was naturally given

birth on the first day of January, in the year one thousand eight hundred and thirty-seven, in

Overton County, in Tennessee State, a State of the union States of America; and

j. John (Jack) R.; house of Winningham and Evelene; house of Gray were one, joined in the
State of holy wedlock at the time James Cariton was naturally given birth to them: and,

k. John (Jack) R.; house of Winningham, Glenn Winningham's second great grandfather, was
sired by John Alston; house of Winningham, a Free, White, Christian male, was naturally
given birth on the twenty-first day of February, in the year one thousand eight hundred and
eight, in Randolph County, in North Carolina State, a State of the union States of America:
and

1. John (Jack) R.; house of Winningham, Glenn Winningham's second great grandfather, was
given birth by Parmelia; house of Mayfield, a Free, White, Christian female, who was
naturally given birth, in the year one thousand eight hundred and eighteen, in Overton

County, in Tennessee State, a State of the union States of America; and

m. John Alston; house of Winningham and Permelia; house of Mayfield were one, joined in the
State of holy wedlock at the time John (Jack) R. was naturally given birth to them: and, 3

n. John Alston; house of Winningham, Glenn Winningham's third great grandfather, was sired |
by Adam; house of Winningham, a Free, White, Christian male, was naturally given birth, in” , we
the year one thousand seven hundred and eighty-one, in Randolph County, in North
Carolina State, a State of the union States of America; and "

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Page 13 (plus attachments) Corporate Denial Affidavit 062013 i
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o. John Alston; house of Winningham, Glenn Winningham's third great grandfather, was given
birth by tsobell, a Free, White, Christian female, who was naturally given birth, in the year
one thousand seven hundred and eighty-two in Virginia State, a State of the union States of
America; and

p. Adam: house of Winningham and tsobell were one, joined in the State of holy wedlock at
the time John Alston was naturally given birth to them; and,

q. Adam; house of Winningham, Glenn Winningham's fourth great grandfather, was sired by
James J.; house of Winningham, a Free, White, Christian male, was naturally given birth, on
the twenty-ninth day of February in the year one thousand seven hundred and fifty-six, in
Prince George County, in the Virginia Colony, which ultimately became Virginia State, a
State of the union States of America; and

r. Adam; house of Winningham, Glenn Winningham's fourth great grandfather, was given birth
by Sarah; house of Nichols, a Free, White, Christian female, who was naturally given birth,
in the year one thousand seven hundred and sixty in the Virginia Colony, which ultimately
became Virginia State, a State of the union States of America; and

s. James J.; house of Winningham and Sarah; house of Nichols were one, joined in the State
of holy wedlock at the time Adam was naturally given birth to them; and,

t [affirm that I, Glenn Winningham:; house of Fearn, am of the Adamic race, as a White

Christian male, and that | do not now nor would | ever voluntarily give up my unalienable
(which means cannot be taken away) God given constitutionally secured Christian rights
and responsibilities. For |, Glenn Winningham: house of Fearn, have never knowingly given
up my birthright as one of the direct descendants of the posterity as is noted in the preamble
of both the Arizona State Constitution (1905) and the Constitution of the united States of
America of (1788), with it's Bill of Rights (1791), and also designated in The Declaration of
Independence of (1776), for and because my fifth great Grandparents, who were James J.:
house of Winningham and Sarah Nichols; house of Winningham, who's grave sites and
gravestones are clearly marked and now serve as an At Law Public Notice of their once
existence and their judicial Power Citizenship status which was passed on to me, Glenn
Winningham; house of Fearn, as an inheritance for and because James J.: house of
Winningham was naturally given birth in the year one thousand seven hundred and fifty-six
living on the land now known as Prince George County, in the Virginia Colony, which
ultimately became Virginia State, a State of the union States of America under the Articles of
Confederation (1781), and the Constitution for the republic of the United States of America,
and whereas James J.; house of Winningham given birth in the year one thousand seven
hundred and fifty-six, and Sarah Nichols; house of Winningham given birth in the year one
thousand seven hundred and sixty were joined in the State of Holy wedlock in the year one
thousand seven hundred and ninety-two, and were living on the land now known as
Randolph County, Virginia, a State of the union States of America. And these pioneers
were the People who were the part, process, and action that eventually led to the
establishment of the Statehood enabling acts of Congress, eg., 1796 for Tennessee, 1821
for Missouri, 1905 for Arizona, which then allowed the 5,000 free white males within the
boundaries then designated as territories to create said States; as found in the Verified
Abstract Declaration and Order which is recorded with the Pinal County Recorder at Fee
Number 2005-028178, which is the unrebutted truth, and public policy, and the true copy of
a current pedigree chart which is attached hereto, all of which is incorporated herein by
reference in its entirety,

“Jura sanguinis nulfo jure civili dirimi possunt. The right of blood and kindred cannot
be destroyed by any civil law. Dig. 50, 17, 9; Bacon's Max. Reg. 11.” Bouvier’s Law
Dictionary 1856 Edition, page 768, and further,

 

Twenty-four. The United States has no authority to go outside constitutional limitations under
any circumstances; “Emergency does not create power. Emergency does not increase ;
granted power or remove or diminish the restrictions imposed upon power granted or f|
reserved, The Constitution was adopted in a period of grave emergency. Its grants of el
power to the Federal Government and its limitations of the power of the States were

determined in the light of emergency, and they are not altered by emergency.” oe

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Home Building and Loan Association v Blaisdel, 290 US 398 (1934),

therefore;

a. they have no authority to delegate police power to municipal corporations, and, f
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“e
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b. the municipal corporation called Judiciary Courts of the State of Texas, Inc., and their parent
municipal corporation called State of Texas, Inc., (attached) are an unconstitutional
delegation of authority, and a fraud and a nullity, and,

c. all “law enforcement agencies” and their officers are unconstitutional delegations of
authority, and have no authority whatsoever, and,

d. they have no authority to create an unconstitutional agency called the State BAR, for Texas
or any State, and,

e. their foreign agents of the Crown BAR members have no authority to even speak to Me,
much less accuse Me of anything, and,

f. they have no authority to engage in unconstitutional acts, like their current 13" Amendment,
or their so-called 14" Amendment, and,

g. they have no authority to pass color of law statutes, and,

h. they have no authority to criminally convert My citizenship into one of their lowlife scumbag
US citizen slaves, or fabricate evidence of such a thing, and,

i. they have no authority to criminally convert My postal address to their foreign bankrupt
corporation by adding a ZIP CODE, and,

j. they have no authority to impose their color of law codes, rules, or regulations on Me, under
any circumstances, or for any reason, and,

k. they have no authority to unlawfully arrest (assault) Me at the borders, or anywhere else, or
search my property, or even communicate with Me in any way, or for any reason, and
further,

Twenty-five. Any government official who attempts to impose on Me, one of their fraudulent
US citizens, or any fictitious entity, or a ZIP CODE, or threatens Me to get hearsay evidence
“Every consent involves a submission; but a mere submission does not necessarily
involve consent.” Black's, 2d. 249,

in order to fabricate evidence of such a fraudulent US citizen or fictitious entity, or ZIP CODE, or
attempts to impose their fictitious non-positive law codes, rules, or regulations on Me, or
attempts to steal My compensation for labor based on such a fictitious entity, is operating under
color of office,

“Color of office. Pretense of official right to do act made by one who has no such right.
Kiker v. Pinson, 120 Ga.App. 784, 172 S.E.2d 333, 334, An act under color of office is an
act of an officer who claims authority to do the act by reason of his office when the office

does not confer on him any such authority. Maryland Cas. Co. v. McCormack, Ky., 488
S.W.2d 347, 352.” Black's Law Dictionary 6" Edition, page 266 [emphasis added]

and is fabricating evidence;

“(a) A person commits an offense if, knowing that an investigation or official proceeding
is pending or in progress, he:

(1) alters, destroys, or conceals any record, document, or thing with intent to impair its
verity, legibility, or availability as evidence in the investigation or official proceeding; or

(2) makes, presents, or uses any record, document, or thing with knowledge of its falsity
and with intent to affect the course or outcome of the investigation or official proceeding.

(d) A person commits an offense if the person:

(1) knowing that an offense has been committed, alters, destroys, or conceals any
record, document, or thing with intent to impair its verity, legibility, or availability as
evidence in any subsequent investigation of or official proceeding related to the offense;
or...” Texas Penal Code Section 37.09. Tampering with or Fabricating Physical Evidence,
{emphasis added),

and is violating My rights under the color of law in violation of 18 USC § 242, which says:
“Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully
subjects any inhabitant of any State, Territory, Commonwealth, Possession, or District to
the deprivation of any rights, privileges, or immunities secured or protected by the
Constitution or laws of the United States, ........ shall be fined under this title or
imprisoned.........
Pub. L. 103-322, Sec. 320201(a), substituted “person in any State” for “inhabitant of any |
State" in first paragraph. (

and 18 USC § 241 says; fy
“If two or more persons conspire to injure, oppress, threaten, or intimidate any person jn yb
any State, Territory, Commonwealth, Possession, or District in the free exercise or ~ Uv
enjoyment of any right or privilege secured to him by the Constitution or laws of the
United States, or because of his having so exercised the same; or If two or more persons 4
go in disguise on the highway, or on the premises of another, with intent to prevent or A

hinder his free exercise or enjoyment of any right or privilege so secured— They shall be y

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fined under this title or imprisoned...; and if death results from the acts committed in
violation of this section or if such acts include kidnapping or an attempt to kidnap,
aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an
attempt to kill, they shall be fined under this title or imprisoned..., or may be sentenced
to death.“

and they are engaged in perjury of oath at a minimum, as wel! as sedition, treason, and more,
“If two or more persons in any State or Territory, or in any place subject to the
jurisdiction of the United States, conspire to overthrow, put down, or to destroy by force
the Government of the United States, or to levy war against them, or to oppose by force
the authority thereof, or by force to prevent, hinder, or delay the execution of any law of
the United States, or by force to seize, take, or possess any property of the United States
contrary to the authority thereof, they shall each be fined under this title or imprisoned
not more than twenty years, or both.” 18 USC § 2384,

“We have no more right to decline the exercise of jurisdiction which is given than to
usurp that which is not given. The one or the other would be treason to the Constitution.”
Cohen v Virginia, 19 U.S. 264 [emphasis added]

and Insurrection,

“Whoever incites, sets on foot, assists, or engages in any rebellion or insurrection
against the authority of the United States or the laws thereof, or gives aid or comfort

thereto, shall be fined under this title or imprisoned not more than ten years, or both; and
shall be incapable of holding any office under the United States.” 18 USC § 2383,

and because the Constitution for the United States of America sets up a trust, they are quilty of
treason (Breach of Trust), and further,

Twenty-six. The Undersigned, |, Me, My, or Myself, also known as Glenn Winningham; house of

Fearn, of Original Status, and Judicial Power Citizen by Right of Blood, do herewith declare,
state and say; | issue this Corporate Denial Affidavit with sincere intent in truth, that lam
competent to state the matters set forth herein, and shail so testify in a lawful court, that the
contents are true, correct, complete, certain, admissible as evidence, and reasonable and just,
by Me, undersigned addressee, one of “We the People”, and not a corporation or a fiction of any
type, and further,

Twenty-seven. Signed and sealed in red ink on the land of Arizona, under penalties with perjury,
(28 USC § 1746 (1)), under the laws of the United States of America, and without the United
States, and further,

Twenty-eight. Further Affiant sayeth not,

  
   

it has been said, so it is done.

Signed and sealed this j7 ele each L__day in April, in the yeag, two thousand and thirteen.
PPP as:

“ “~* Glenn Winningham; house of Fearn, sui juris
Sovereign living soul, holder of the office of "the People"
Judicial Power Citizen by right of blood

Inhabitant of the land known as Texas

With full responsibility for My actions

under the Laws of YHWH as found in the Holy Bible

 

JURAT
Arizona republic

)

) Subscribed, Sworn, Sealed

Pinal County )

As an officer of the court, I, hereby certify that Glenn Winningham; house of Fearn, who is
known to me, appeared before me and after being duly put under oath, he executed the
foregoing document on this the 4, netecyih day of April, in the year two
thousand and thirteen. ,

‘éblig » State of A-.
PINAL COUNTY 7°"?

OFFICIAL SEAL y A ow
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ONNA LEE DIAZ Ee
im. Expires Aug. 10, 2013

 

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. Chart no. 4
Pedigree Chart TCH Ain RG —_
B:21 Feb 1808
8 John (Jack) R. Winningham __M 1835
B:22 Dec 1838 0:19 Jul 1904
P: Overton, Tennessee, USA 17 Permelia Maytield
Me 1885 B: 1818
4 James Carlton Winningham _P: Overton, Tennessee, USA D: 1870
8:28 Apr 1856 D:5 Jan 1889
P: Overton, Tennessee, USA P: ,Overton, Tennessee, USA 1Gray
M1873 B:
P: 9 Evelene Gray _ of
0:22 Apr 1922 B: 1 Jan 1837 ai
P: Terral, Jefferson,0,USA P: Overton, Tennessee, USA ity Hil
D: 20 Mar 1691 19Eoly Hil ee
2 Quitman Elbert Winningham P: Overton, Tennessee, USA D:
B: 11 Aug 1886
P: Overton, Tennessee, USA 20Allan McDonald
M: 5 Jul 1908 B:1775
P: Terral, Jefferson,O,USA 10 Jason McDonatd i
D: 28 Feb 1958 8:22 Jan 1817 =
P: Ryan, Jefferson,O,USA P: Overton, Tennessee, USA 21Susannah Sells
: M: 1854 B: 1785
5 Clementine McDonald ____P: Overton Co.,Tennessee,USA =p: 4855
B: 22 Sep 1862 D:4 Oct 1908
P: Overton, Tannessee,USA P: Monroe, Overton,T,USA 22 Buckner Ledbetter
D: 1895 8: 1844
P: Lampasas, Texas 14 Mary J. Ledbetter - bi
B:1826 °
P: Overton, Tennessee, USA 23 Virginia Jane Lions
0: 1883 B: 1812
P: Overton, Tennessee, USA D: 1865
1 Hazel Lorene Winningham
B: 24
P: B:
Me5 Nov 1975 12 George M. Atkins x“
P: Cardston Alberta, Canada B: 1822 .
D: P:, Alabarna 25
P; Ne a...” ee
6 Robert Bell Atkins P: D:
B: 20 Jan 1859 D:
Roderick Murray Fear P: Jacksonville,Cherokee,T,USA P:,, Texas FE scene itenssis ace
(Spouse of no, 1) M:21 Aug 7683 B:
P: 13 Nancy Moranda Morgan as
0:25 Sep 1951 B: 1823 ,
P: Chickasha,Grady,0,USA P:,,North Carolina a7
D: B:
P: Do:
28 Miles McGinnis McDowell
8:24 Jun 1804
3 Ruby May Atkins 14 Wiley Galloway McDowell M19 Oct 1825
B:5 May 1890 B:5 Aug 1833 ae
P: Mexia,Limestone, Texas, USA P: Morgan,Alabama 2gAnn Aycock
D: 27 Aug 1960 M: 40 Nov 1852 B: 1798 1
P: Ryan,Jefferson,O,USA 7 Katherine May McDowell —siP:: 0: 1835
8:26 Feb 1859 D: 28 Oct 1887
P: Wesson, Copiah, Missourl P: Tippah, Missouri 30 David Dean
D: Sep 1937 B: 1806
P: Terral Jefferson,O,USA 15 Mary Ann Dean Mt
B: 10 Nov 1834 o
P: Tennessee 31 Elizabeth
B: 1802
D:

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= Chart no. 1
Pedigree Chart \eWiliam Winningham
B:2 Jul 1732
8 James J. Winningham Mt
B:29 Feb 1756 B:
P:,Prince George, Virginia,USA 47Saran
M43 Jun 1792 B: ee
4 Adam Winningham PE D:
B: 1781 D:25 Aug 1836
P: [Randoiph,North Carolina P:,Randolph,North Carolina,USA 18 0
M: 1804 B:
e: 9 Sarah Nichols n
D: Sep 1859 B:1760 ‘
P; Overton, Tennessee, USA P: 49
D: a: )060™U™”™~CSC;73®té<i‘S
2 John Alston Winningham P: Randolph, Virginia 0:
B:21 Feb 1808
P: .Randolph,North Carolina 20
Nt 1835 B:
P: Overton Co., Tennessee, USA 10. ee _ es)
O:19 Jul 1904 B: a :
P: Overton, Tennessee, USA P: 4
Me B:
5 Isobel P: D:
B:1782 Dp:
P:,, Virginia Fs 22
0: 1845 B:
P: Overton,Tennessee,USA 44 Me
a: 2:
P: 23
D: B:
P: D:
1 John (Jack) R. Winningham
B:22 Dec 1836 24 John Mayfield
P: Overton, Tennessee, USA 8: 1724
M1885 42 Stephen Mayfield *
P: Overton, Tennesses, USA B:4755 ~ D
D:5.dan 1889 P: Albemarie Co,Virginia,.USA 26 Detia
P: Overton, Tennessee, USA M B:
6 John Mayfield P: D:
8:1783 D: 1776
Evelene Gray P: Essex County, Virginia, USA P: 26 John Gilmore _
(Spouse of na, 1) M: 13 Aug 1813 B:
P: Overton Co,Tennessee,USA 43 Bridgett Gilmore M
0:11 Oct 1826 8: D:
P: Overton, Tennessee, USA P: 27 Judith
D: B: a
P: D:

3 Permelia Mayfield

B:1818

P: ,Overton, Tennessee, USA

D: 1870

P: Overton, Tennessee, USA 7 Mary Polly Livingston
B:13 Mar 1795
P:, Washington Co., Virginia, USA
D:
e:

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LO @

28 William Todd Livingston
B: 1744

 

 

14 Henry Livingston * 1749

B: 1 Mar 1765 D: 1778

P: King & Queen Co..Virginia 29 Sarah Ware

M: 24 Feb 1793 a. oC Se an ax
~P D:1794

D:23 May 1834

P: Overton Co.,Tennessee,USA 30 Cornelius Carmack

8:18 Jun 1736

1§ Susannah Garmack _ * ccansnomanal 1768

B:30 Dec 1770 ‘D: 18 Jul 1824

Pi Frederick Co..Maryland,USA 31 Margery Jane Evans

D: 1856 B:
P: Overton Ca.,Tennessee,USA —p
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Pedigree Chart cnarne. |
160 sty ae
8:
8John McDowell x weal
: OO! D:
P: Scotland 17
M: Ee
4John McDowell =P: D:
B: 1758 0:
P:,, Ireland P: 8 —
M:21 May 1790 B:
P: South Carolina,United States 9_ ¥
D: 1856 :  —.TT Oe:
P: Lawrence,Alabama P: 19
D: B: ——e eae
2 Miles McGinnis McDowell P: D:
B: 24 Jun 1804
P: Wilkes, Georgia Oo
M: 19 Oct 1825 B:
P: 10Philemon Thomas
D: 1836 B: D:
P: Morgan, Alabama P: 24
Me B:
§ Sarah Thomas P: D:
B:15 Jun 1772 OQ:
P: Mariboro,South Caroina,USA  P:,,South Carolina,United States 22.0 _
D:13 Aug 1856 B:
P:,Lawrence,Alabama,USA 44 come
B: .
P- :
D: ” B:
P: D:
1 Wiley Galloway McDowell
B:5 Aug 1833 24 William Aycock
P: Morgan, Alabama B: 1705
M. 10 Nov 1852 12 Richard Aycock M1796
—_— 8: 1739 0: 1765
P: ,Tippah, Missouri A _ ines 2 Beteoce Ea0e_____ nee
6 Henry Aycock P:,.North Carolina 5:
1 B:1773 0: 1786
Mary Ann Dean P:,,North Carolina, United States P: ,Wilkes,Georgia, United States 26 -
(Spouse of no. 4) M26 Dec 1797 B:
P: 13 Rebecca Thurman __ M
D: 1626 B:1743 o
P: .Morgan,A,United States P: BertieNorth Carolina,USA 97
B:1783 B: a
P: Wilkes,Georgia, USA D:
28 John Stovall.
B:
3 Ann Aycock 14 Drury Stovall «
B: 1798 8: 1752 Bm
P: Morgan,Alabama P: 29Dorcas
0: 4835 Mt B- Tn nee
P: |Morgan,Alabama 7 Mildred Stovall P: D:
B: 1780 D: 1826
P: .Virginia,United States P: 30 John Stone —
D: 1854 B:
P; ,Morgan,A, United States 15 Ann Stone - Me
B:1751 7
Pe 31.Mildred Corder
~ 0: 1821 e@:
P: D:

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includes alerts on changes to your business credit file,

Updated quarterly for a full year.

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Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 43 of 63 PagelD 607

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AFFIDAVIT RETURN ORIGINAL TO: |
Danie!-Lee: Swank
P.O. Box 855
Huffman, Texas 77336

 

AFFIDAVIT

Liberty County § AFFIDAVIT OF
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State of Texas

[ Daniel-Lee Swank. affiant herein, state under Public Law 97-280 that I am competent,
[ have personal knowledge of the facts herein and state that the facts herein are true,

correct, and not misleading.

1, T have retrieved the attached two pages of D&B Business Background Report
regarding the for profit corporate status of the JUDICLARY COURTS OF THE STATE
OF TEXAS from the Dunn and Bradstreet internet website
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Further, affiant says nothing.
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pee Swank, affiant

STATE OF TEXAS §
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COUNTY OF LIBERTY &

SUBSCRIBED PURSUANT TO PUBLIC LAW 97-280

BEFORE ME ON THIS 4 DAY OF £ ——" 2008,

By Daniel-Lee: Swank. a man, personally known to me or provided to me on the basis of
satisfactory evidence to be the man who appeared before me.

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NOTARY PUBLIC IN AND FOR THE STATE OF TEXAS —{ V2, AUBERL A THOMAS

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October 24. 2010

 
Case 4:20-cv-00161-O Document 28 Filed 05/20/20

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Page 44 of 63 PagelD 608
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DeeB Business Background Report: Judiciary Courts of the State of Texas

 

O68 has not fully revised this report since 12-02-04 and this report,
therefore, should not be considered a statement of existing fact. The
inforzation present may cefer to information obtained by 069 after the Last
full cevision date. Such information way not currently relate te this
business due to possible changes in ownership, contro], or legal status.

BUSINESS BACKGROUND REPORT

JUDICIARY COURTS OF THE STATE OF TEXAS

 

DUNS: 36-0706-5040 DATE PRINTED: January 29, 2008

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(SUBSIDIARY OF TEXAS. STATE OF, AUSTIN.

TX)
PO BOL 12248 AUSTEN, TX 78731 Year Started: 1845
“t Control Year: 1845
SUPREME COURT BUILDING This is a Headquarter lacation.
SUSTIW, TH 3

telephone: $22 483-1312

Employees Total: 1,049
Employees Hare: 64

“Top Executive: THOMAS R PHILLIPS, CHF

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-.ne of Business: STATE COURT SYSTEM

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(STATE COURT SYSTEM)

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HISTORY

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The Corporate Details provided below may have been submitted by the
RBanagement of the subject ousiness and may not have been verified with
the government 4gency which records such data.

BUSINESS TYPE: CORPORATION - DATE INCORPORATED: 00/00/1836
PROFIT STATE OF INCORP: TEXAS

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THOMAS BR PHILLICS, CHIEF JUSTICE
OYRECTOR(S): THE OFFICER(S)

     

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Page 1 of 2

DSH Business Background Report ™

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Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 45 of 63 PagelD 609

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Dé&i3 Business Background Report: Judiciary Courts of the State of Texas Page 2 of 2

Business starced 1845 by the eltirens.
TH SR PHILLIPS. Chief Juscice of the Supreme Court of Texas
Since 1968€.

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C2ERATI ONS

32/02/04 Subsidiary of Texas, State Of, AUSTIN, TX started 1645 which
Operates a3 4 state government. Intercompany relations: Hone reported

3 by management.
this company is a subsidiary of Texas, State of (ine),
GOONS §00-253-7595, and-réference is made to that report fer background
iniormation en the parent company and its manegement.
State court system which includes the Supreme Court and Court of
Criminal Appeals {courts o ast res grt ais
“judges, rict Court w & Junges, Cri District Court with
es and County Level Court with #45 judges.

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” Funds Qe? ived-trow- tax tevenues
64 employed here.

EMPLOYEES: 1,049 which includes officeria}.

FACILITIES: Owns premises in a multi story building.

LOCATION: Central business section on main street.

SRANCHES: The department mainceins 14 courts of eppeel, 375
district level courts and 420 county level courts.

 

 

 

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COSTQPVER SERVITE

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‘epor!. please call aur Customer Service Center at i-800-234-DUNS (3867) .

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PINAL COUNTY RECORDER
VIRGINIA ROSS
31 N PINAL ST - BLDG E
PO BOX 848
FLORENCE AZ 85232
PHONE: 520-866-6830 FAX: 520-866-6831

STATE OF ARIZONA)
)SS
COUNTY OF PINAL )

I hereby certify that this is a true copy of the official records on file in the office
of the Recorder of Pinal County located in

 

 

DKT/PG or Fee No 2013-032373
Pages: 1 thru 24 of 24
Date: April 19, 2013

 

Witness my hand and official seal:

Virginia Ross,
Recorder of Pinal County

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Deputy Recorder i \

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FINAL NOTICE OF DEFAULT

By Certified Mail 7018 0040 0000 6092 0429 By Certified Mail 7018 0040 0000 6092 0436

To: To:

Lyle W Cayce, Clerk Prescilla R Owen, Chief Judge
United States Court of Appeals United States Court of Appeals
for the Fifth Circuit for the Fifth Circuit

600 South Maestri Place 600 South Maestri Place

New Orleans, Louisiana 70130 New Orleans, Louisiana 70130

By Certified Mail 7018 0040 0000 6092 0443 By Certified Mail 7018 0040 0000 6092 0450

 

To: To:

Ted Cominos, Circuit Executive Barbara MG Lynn, Chief Judge
United States Court of Appeals United States District Court

for the Fifth Circuit for the Northern District of Texas
600 Camp Street 1100 Commerce Street, Suite 1452
New Orleans, Louisiana 70130 Dallas, Texas 75242

You are in default in providing the method of payment and you are notified that your Attorneys have
failed to complete this form that was served on 14 April 2020.

Lyle W Cayce by Certified Mail 7018 0040 0000 6092 0078
Prescilla R Owen by Certified Mail 7018 0040 0000 6092 0085
Ted Cominos by Certified Mail 7018 0040 0000 6092 0092
Barbara MG Lynn by Certified Mail 7018 0040 0000 6092 1008

A Notice of Default and Opportunity to Cure was served on you on or about 1 May, 2020, and you
have failed to respond to that as well.

Lyle W Cayce by Certified Mail 7018 0040 0000 6092 0276
Prescilla R Owen by Certified Mail 7018 0040 0000 6092 0283
Ted Cominos by Certified Mail 7018 0040 0000 6092 0290
Barbara MG Lynn by Certified Mail 7018 0040 0000 6092 0306

true copies of proof of service are attached hereto, all of each of which are incorporated herein by
reference in its entirety

This is an effort to pay a debt, and | need to know how to lawfully satisfy this requirement.
| have attached a copy for your reference!

This is giving me great evidence against you and your Roman Cult handlers, and your intent to
engage in multiple felonies, Violating rights and immunities under color of law, Conspiracy to
threaten, intimidate, coerce, and injure me in the free exercise of my rights, Mail Fraud, sending
threatening mail, Impersonation, perjury of oath, and more!

This is your Final Notice of Default and your failure to provide the required information means that |
owe nothing.
Have a great day!!!

glenn

EL
Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 48 of 63 PagelD 612

NOTICE OF DEFAULT AND OPPORTUNITY TO CURE

By Certified Mail

7018 0040 0000 6092 0276
To:

Lyle W Cayce, Clerk

personal

United States Court of Appeals
for the Fifth Circuit

600 South Maestri Place

New Orleans, Louisiana 70130

And By Certified Mail

7018 0040 0000 6092 0290

To:

Ted Cominos, Circuit Executive
personal

United States Court of Appeals
for the Fifth Circuit

600 Camp Street

New Orleans, Louisiana 70130

And By Certified Mail

7018 0040 0000 6092 0283
To:

Prescilla R Owen, Chief Judge
personal

United States Court of Appeals
for the Fifth Circuit

600 South Maestri Place

New Orleans, Louisiana 70130

And By Certified Mail

7018 0040 0000 6092 0306
To:

Barbara MG Lynn, Chief Judge

personal
United States District Court

for the Northern District of Texas
1100 Commerce Street, Suite 1452

Dallas, Texas 75242

You are in default in providing the method of payment and you are notified that if your Attorneys fail to
complete this form that was filed on 14 April 2020.

| have attached a copy for your reference!

This is giving me great evidence against you and your Roman Cult handlers, and your intent to
engage in multiple felonies, Violating rights and immunities under color of law, Conspiracy to
threaten, intimidate, coerce, and injure me in the free exercise of my rights, Mail Fraud, sending
threatening mail, Impersonation, perjury of oath, and more!

Have a great day!!!

glenn

1|Page
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USPS.com® - USPS Tracking® Results

Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 49 of 63 PagelD 613
FAQs >

USPS Tracking’

Track Another Package +

Tracking Number: 70180040000060920283

Remove *

Your item was delivered to the front desk, reception area, or mail room at 9:31 am on May 1, 2020

in NEW ORLEANS, LA 70130.

Y Delivered

May 1, 2020 at 9:31 am
Delivered, Front Desk/Reception/Mail Room
NEW ORLEANS, LA 70130

Get Updates x,

 

Text & Email Updates

 

   
       

 
 

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CERTIFIED MAIL® RECEIPT

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Track Another Package +

Tracking Number: 70180040000060920276 Remove X

Your item was delivered to the front desk, reception area, or mail room at 9:31 am on May 1, 2020
in NEW ORLEANS, LA 70130.

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USPS.com® - USPS Tracking® Results

Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 51 of 63 PagelD 615

FAQs >

Remove

Your item was delivered to the front desk, reception area, or mail room at 12:34 pm on April 30,

2020 in DALLAS, TX 75202.

& Delivered

April 30, 2020 at 12:34 pm
Delivered, Front Desk/Reception/Mail Room

DALLAS, TX 75202

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SENDER: COMPLETE THIS SECTION

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

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~ Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 52 of 63 PagelD 616

USPS Tracking’ eats

Track Another Package +

Remove

Tracking Number: 70180040000060920290

Your item was delivered to the front desk, reception area, or mail room at 9:31 am on May 1, 2020
in NEW ORLEANS, LA 70130.

& Delivered

May 1, 2020 at 9:31 am
Delivered, Front Desk/Reception/Mail Room
NEW ORLEANS, LA 70130

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Get Updates .~

 

Text & Email Updates

 

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Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 53 of 63 PagelD 617

FORM 1020

United States Court of Appeals for the Fifth Circuit

By Certified Mail

7018 0040 0000 6092 0078
To:

Lyle W Cayce, Clerk

personal

United States Court of Appeals
for the Fifth Circuit

600 South Maestri Place

New Orleans, Louisiana 70130

And By Certified Mail

7018 0040 0000 6092 0092
To:

Ted Cominos, Circuit Executive

personal

A private corporation

And By Certified Mail

7018 0040 0000 6092 0085
To:

Prescilla R Owen, Chief Judge
personal

United States Court of Appeals
for the Fifth Circuit

600 South Maestri Place

New Orleans, Louisiana 70130

And By Certified Mail

7018 0040 0000 6092 0108
To:

Barbara MG Lynn, Chief Judge

personal

United States District Court

for the Northern District of Texas
1100 Commerce Street, Suite 1452
Dallas, Texas 75242

Date: April 14, 2020

United States Court of Appeals
for the Fifth Circuit

600 Camp Street

New Orleans, Louisiana 70130

Case No. 20-10347

 

NOTICE TO ATTORNEYS AT UNITED STATES COURT OF APPEALS FOR THE
FIFTH CIRCUIT

An attorney or a Private Corporation is assumed to know the law, it is the obligation of
an attorney or a Private Corporation, to see that any alleged FINES, FEES. CHARGES,
etc., are collected lawfully, correctly, and completely. In order to correctly "quote" pay
this alleged FINES, FEES, CHARGES, etc.,, Glenn Winningham Fearn, requires the
following information, from attorneys at United States Court of Appeals for the Fifth
Circuit. Complete this FORM and return it to the_address you have on file to enable
Glenn Winningham Fearn to understand and lawfully comply with this alleged FINES,
FEES, CHARGES. etc... This Form raises formal questions with regards to this alleged
FINES, FEES, CHARGES, etc., that only your attorneys can answer.

 

 

1. under the caption You must pay the district court clerk the what does the number
505.00 refer to: (check one) obligations of the United States Government [JJ ;
National bank currency C} Bonds CJ; Certificates of Indebtedness [i Federal Reserve

Notes Ct Bills 2} or Other Fy (Explain)

46

 
Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 54 of 63 PagelD 618

2. Does that statement refer to: consideration of obligations or other securities of the
United States, directly or indirectly? (Check one)EJ Yes [21 No;

3. Does the computation of this alleged Clerk’s letter require consideration of
obligations or other securities of the United States, directly or indirectly? (Check one)

Yes EI or Nd]

Most individuals can complete this FORM in three minutes. You are required by law
(UCC 3-104 & 3-115) to complete this FORM, before any payment may be made. As a
private corporation you are assumed to know the law, and not misleading. You made
several statements in your Clerk’s letter to Glenn Winningham Fearn that Glenn
Winningham Fearn owes something to someone. It is your obligation to answer the
forgoing questions on FORM 1020 or a default will be issued by Glenn Winningham
Fearn against United States Court of Appeals for the Fifth Circuit a private corporation,
for trying to mislead Glenn Winningham Fearn by asking Glenn Winningham Fearn for
something that he doesn't owe, or you don't know what that something is, so as
attorneys, you are assumed to know the law.

 
Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 55 of 63 PagelD 619

| am an attorney at United States Court of Appeals for the Fifth Circuit a Private
Corporation. | have read the foregoing Form 1020 and know it to be true, correct and
complete, not misleading in anyway. | declare under penalty of perjury that the
foregoing is true and correct.

Executed on , 2020.

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(Print name)

Sign NAME

 

(Sign Name)

BAR Number:

 

(Bar Number Here)

 

This Form 1020 must be completed and returned within 15 days of mailing / delivery /
filing. Failure to complete and return this Form 1020 in 15 days will result in a default
being prepared for United States Court of Appeals for the Fifth Circuit based upon the
information Glenn Winningham Fearn has, and the default is your admittance that the
FINES, FEES, CHARGES, etc., that was provided to Glenn Winningham Fearn was in
error or in violation of the law, no other mailing will be needed.

Failure to provide Glenn Winningham Fearn with requested information, in the
time allowed the Attorneys at United States Court of Appeals for the Fifth Circuit are
admitting with their Silence that United States Court of Appeals for the Fifth Circuit is
dishonest. Estoppel arises where person is under duty to another to speak or failure to
speak is inconsistent with. honest dealings. Silence by United States Court of Appeals
for the Fifth Circuit, will be treated by Glenn Winningham Fearn that FINES, FEES,
CHARGES, etc., as dishonest dealings and balance is paid in full.

 
Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 56 of 63 PagelD 620

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

April 06, 2020

Mr. Glenn Winningham Fearn
6430 Lakeworth Boulevard
Apartment 437

Fort Worth, TX 76135

No. 20-10347 Glenn Fearn v. Timothy Graham, et ali
USDC No. 4:20-CV-161

Dear Mr. Fearn,

We have docketed the appeal as shown above, and ask you to use the
case number above in future inquiries.

Filings in this court are governed strictly by the Federal Rules

of Appellate Procedure. We cannot accept motions submitted under

the Federal Rules of Civil Procedure. We can address only those

documents the court directs you to file, or proper motions filed

in support of the appeal. See FED. R. App. P. and 5™ Crr. R. 27 for

guidance. We will not acknowledge or act upon documents not
‘authorized by these rules.

You must pay to the district court clerk the $505.00 court of
appeals filing and docketing fee and notify us of the payment
within 15 days from the date of this letter. Failure to pay the
fee within 15 days will result in the dismissal of your appeal,
see 5™ Cir. R. 42.3.

All counsel who desire to appear in this case must electronically
file a "Form for Appearance of Counsel" naming all parties

. represented within 14 days from this date, see Fep. R. App. P. 12(b)
and 5S Cir. R. 12. This form is available on our website
www.ca5.uscourts.gov. Failure to electronically file this form
will result in removing your name from our docket. Pro se parties
are not required to file appearance forms.

ATTENTION ATTORNEYS: Attorneys are required to be a member of the

Fifth Circuit Bar and to register for Electronic Case Filing. The

"Application and Oath for Admission" form can be printed or

downloaded from the Fifth Circuit's website, www.ca5-uscourts.gov.

Information on Electronic Case Filing is available at
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Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 57 of 63 PagelD 621

ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U 5
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available. Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website

at http://www.ca5.uscourts.gov/docs/default-
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feature-of-cm. Additionally, a link to the instructions will be

included in the notice you receive from the district court.

Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
courti.«

We recommend that you visit the Fifth Circuit's website,

/Www.caS.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner's Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.

 

ATTENTION: If you are filing Pro Se (without a lawyer} you can
request to receive correspondence from the court and other parties
by email and can also request to file pleadings through the court's
electronic filing systems. Details explaining how you can request
this are available on the Fifth Circuit website at
_http://www.ca5.uscourts.gov/docs/default-source/forms/pro-se-
filer-instructions. This is not available for any pro se serving
in confinement.

Sealing Documents on Appeal: Our court has a strong presumption
Of public access to our court's records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket. Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
- justified sealing in the originating court may have changed or may
not apply in an appellate proceeding. Tt is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary. An unopposed motion to seal does not obviate a
counsel's obligation to justify the motion to seal.

 

 

 
Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 58 0f63 PagelD 622

Sincerely,
LYLE W. CAYCE, Clerk

By:
Renee S. McDonough, Deputy Clerk
504-310-7673

 

ees
Mr. Melvin Keith Ogle
Mr. Brian Walters Stoltz
Mr. Joe C. Tooley

 

 
Case 4:20-cv-00161-O Document 28 Filed 05/20/20 Page 59 of 63 PagelD 623

Provided below is the court's official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

Case No. 20-10347

GLENN WINNINGHAM FEARN,

Plaintiff - Appellant
Vv.

TIMOTHY C. GRAHAM, Euless Police; EDGAR L. HURTADO, Police
Supervisor; MICHAEL R. COLLINGWOOD, Euless Police; MICHAEL
BROWN, Euless Chief of Police; LACY BRITTON, Euless Magistrate;
STACY WHITE, Coward Prosecutor; A. ECHOLS-KIRKSEY, Euless
Jailor; V. NILSON, Euless Jailor; LINDA MARTIN, Euless Mayor;
KEN PAXTON, Texas Attorney with the rank of general; DEER PARK
CASH COW, L.L.C.; JOHN MCBRYDE; ERIN NEALY COX, U.S. Attorney;
TARRANT COUNTY SHERIFF'S OFFICE; SHAREN WILSON, Tarrant County
' DA,

Defendants - Appellees

 

 
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FAQs >

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FAQs >

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